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1A
 101-7-TDR
 /2010
 /2009
 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                         LAREDO DIVISION


               In Re:                                        §
                                                             §
               L.O.G. Energy Exploration, LTD.               §     Case No. 13-50114
                                                             §
                                   Debtor                    §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      MICHAEL B. SCHMIDT, Chapter 7 Trustee, chapter 7 trustee, submits this Final
               Account, Certification that the Estate has been Fully Administered and Application to be
               Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 3,431,915.02                       Assets Exempt: NA
               (Without deducting any secured claims)

               Total Distributions to Claimants: 1,397,938.66       Claims Discharged
                                                                    Without Payment: NA

               Total Expenses of Administration: 1,761,062.21


                       3) Total gross receipts of $ 3,159,000.87 (see Exhibit 1), minus funds paid to the debtor
               and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 3,159,000.87 from the
               liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                        $ NA       $ 3,725,115.01           $ 997,013.68          $ 997,013.68

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                       NA          1,158,955.65           1,290,860.85          1,290,860.85

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                               NA            320,713.48             470,201.36            470,201.36

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                NA             75,000.00                   0.00                  0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                  NA          1,613,112.11             973,112.87            400,924.98

TOTAL DISBURSEMENTS                                     $ NA       $ 6,892,896.25         $ 3,731,188.76        $ 3,159,000.87


                 4) This case was originally filed under chapter 11 on 06/14/2013 , and it was converted
          to chapter 7 on 01/26/2015 . The case was pending for 57 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 10/07/2019                        By:/s/MICHAEL B. SCHMIDT, Chapter 7 Trustee
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                  EXHIBITS TO
                                                FINAL ACCOUNT


           EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                    UNIFORM                        $ AMOUNT
                                                        TRAN. CODE1                     RECEIVED

 Blue Fire Engery from Magnum                             1123-000                           8,533.85

 Montecristo Energy from Magnum                           1123-000                          20,589.54

 Unknown suspense from Kebo                               1123-000                           3,374.53

 Wells Fargo DIP 6750 (Asset #2)                          1123-000                         176,391.45

2007 Jeep Wrangler                                        1129-000                           9,258.00

2008 GMC Sierra K1500                                     1129-000                          10,544.00

Auction sale of Claim in Thomas Lamont Case
#15-50120-                                                1129-000                           5,877.00

 Machinery, fixtures, equipment and supplies              1129-000                           4,831.75

 Blue Fire Engery from Magnum                             1223-000                         266,282.37

Kebo Oil & Gas                                            1223-000                          83,683.42

 Montecristo Energy from Magnum                           1223-000                         612,506.64

 Unknown suspense from Kebo                               1223-000                           3,701.71

Insurance refund                                          1229-000                             147.23




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                              DESCRIPTION                                  UNIFORM                                $ AMOUNT
                                                                          TRAN. CODE1                             RECEIVED

unclaimed property from Texas Comptroller of
Public Accounts                                                              1229-000                                    833.18

    Undisclosed leases and wells                                             1229-000                                961,271.00

    well salvage #3 pipe                                                     1229-000                                  4,810.00

    well salvage 2 tanks                                                     1229-000                                  1,200.00

    Settlment with Attorneys per order #298                                  1241-000                                150,000.00

    Settlment / Keeling & Downes PC                                          1249-000                                 15,000.00

     Settlment with Trevino, Valls & Haynes, LLP                             1249-000                                 17,000.00

    Wells Fargo DIP 1174 (Asset #4)                                          1290-000                                 67,839.80

    Wells Fargo DIP 6750 (Asset #2)                                          1290-000                                 13,761.96

    Wells Fargo DIP Revenue 6743 (Asset#3)                                   1290-000                                721,563.44

TOTAL GROSS RECEIPTS                                                                                              $ 3,159,000.87
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


               EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                      PAYEE                                     DESCRIPTION                         UNIFORM       $ AMOUNT
                                                                                                   TRAN. CODE        PAID

NA                                                                                                      NA                   NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                               $ NA
THIRD PARTIES


               EXHIBIT 3 – SECURED CLAIMS




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                                                 UNIFORM         CLAIMS
                                                                                 CLAIMS            CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.       SCHEDULED                                            CLAIMS PAID
                                                                                ASSERTED          ALLOWED
                                                  CODE       (from Form 6D)

             Baker Hughes Oilfield
12           Operations, Inc.                    4110-000                 NA        845,715.89       395,094.27        395,094.27


             Kebo Oil & Gas, Inc.                4110-000                 NA             250.00           250.00           250.00


2            Ltd. Fesco                          4110-000                 NA          49,431.85        23,093.08        23,093.08


10           Ltd. Pioneer Drilling Services 4110-000                      NA        474,799.10       221,811.89        221,811.89


18           N. A. Texas Community Bank 4110-000                          NA       2,027,606.62      225,000.00        225,000.00


             The Lauro & Hortencia Lopez
22           Mineral Trust                       4110-000                 NA          75,000.00             0.00              0.00


             The Lauro & Hortencia Lopez
23           Mineral Trust                       4110-000                 NA          75,000.00             0.00              0.00


20           Zapata County                       4110-000                 NA          45,547.11             0.00              0.00


             Montecristo Energy II, Ltd.         4210-000                 NA        131,514.44       131,514.44        131,514.44


             Stancil Property Tax, LLC           4800-000                 NA             250.00           250.00           250.00

TOTAL SECURED CLAIMS                                                    $ NA     $ 3,725,115.01     $ 997,013.68      $ 997,013.68


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                              CLAIMS            CLAIMS             CLAIMS
               PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                            SCHEDULED          ASSERTED           ALLOWED
                                           CODE

Michael B Schmidt Chapter 7                2100-000                     NA         118,020.03        118,020.03        118,020.03


Michael B Schmidt Chapter 7                2200-000                     NA           1,020.25          1,020.25           1,020.25




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                                           UNIFORM
                                                         CLAIMS          CLAIMS          CLAIMS
                PAYEE                       TRAN.                                                       CLAIMS PAID
                                                       SCHEDULED        ASSERTED        ALLOWED
                                            CODE

George Adams & Co Insurance
Agency, LLC                                 2300-000               NA       -3,937.00       -3,937.00        -3,937.00


George Adams and CO Ins AGCY
LLC                                         2300-000               NA        5,905.00        5,905.00         5,905.00


International Sureties, Ltd.                2300-000               NA          251.16          251.16           251.16


Liberty Mutual Insurance Co                 2300-000               NA          178.30          178.30           178.30


LTD. International Sureties                 2300-000               NA          982.77          982.77           982.77


Magnum Producing, LP                        2420-000               NA        2,670.77        2,670.77         2,670.77


kebo Oil & Gas                              2500-000               NA           38.10           38.10            38.10


Kebo    oil & Gas                           2500-000               NA           68.30           68.30            68.30


Kebo Oil & Gas                              2500-000               NA        6,071.15        6,071.15         6,071.15


Kebo Oil & Gas                              2500-000               NA       36,962.38       36,962.38        36,962.38


Magnum                                      2500-000               NA        2,222.54        2,222.54         2,222.54


Magnum Producing , LP                       2500-000               NA      271,878.02      271,878.02       271,878.02


Magnum Producing LP                         2500-000               NA       21,245.78       21,245.78        21,245.78


Magnum Producing, LP                        2500-000               NA      180,667.64      180,667.64       180,667.64


First National Bank - Vinita                2600-000               NA        2,362.50        2,362.50         2,362.50


Wells Fargo Bank                            2600-000               NA           80.00           80.00            80.00




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                                           UNIFORM
                                                         CLAIMS          CLAIMS            CLAIMS
                PAYEE                       TRAN.                                                         CLAIMS PAID
                                                       SCHEDULED        ASSERTED          ALLOWED
                                            CODE

Wells Fargo Bank Fee                        2600-000               NA          360.00            360.00           360.00


Kebo Oil & Gas, Inc.                        2690-000               NA              0.00       17,031.19        17,031.19


In Kebo Oil & Gasc.                         2690-000               NA          500.00            500.00           500.00


Kebo OIl & Gas                              2690-000               NA      147,848.35        147,848.35       147,848.35


Kebo Oil & Gas, Inc.                        2690-000               NA       34,970.90         34,970.90        34,970.90


Magnum Production, LP                       2690-000               NA              0.00       97,523.48        97,523.48


BANKRUPTCY COURT CLERK                      2700-000               NA          176.00            176.00           176.00


CLERK, U.S. BANKRUPTCY
COURT                                       2700-000               NA          176.00            176.00           176.00


Clerk, US Bankruptcy Court                  2700-000               NA          176.00            176.00           176.00


U. S. Trustee                               2950-000               NA        6,825.00          6,825.00         6,825.00


United States Treasury                      2950-000               NA       -7,475.00         -7,475.00        -7,475.00


Bulldog Well Service                        2990-000               NA      163,295.00        163,295.00       163,295.00


Kebo Oil & Gas, Inc.                        2990-000               NA       27,822.74         27,822.74        27,822.74


Kebo Oil and Gas, Inc.                      2990-000               NA       25,872.00         25,872.00        25,872.00


Law Offices of Michael B. Schmidt           3110-000               NA       83,835.00         83,835.00        83,835.00


Law Offices of Michael B. Schmidt           3120-000               NA        6,257.05          6,257.05         6,257.05


PC Ward McCampbell                          3410-000               NA       18,252.25         18,252.25        18,252.25




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                                          UNIFORM
                                                        CLAIMS          CLAIMS            CLAIMS
                PAYEE                      TRAN.                                                          CLAIMS PAID
                                                      SCHEDULED        ASSERTED          ALLOWED
                                           CODE

PC Ward McCampbell                         3420-000               NA            70.67             70.67             70.67


BKASSETS.COM, LLC                          3640-000               NA         1,081.00          1,081.00          1,081.00


The Law Offices of William B.
Kingman, P.C.                              3701-000               NA              0.00        16,617.50        16,617.50


The Law Offices of William B.
Kingman, P.C.                              3702-000               NA              0.00           733.03           733.03


Plunkett & Griesenbeck, Inc.               3721-000               NA         1,000.00          1,000.00          1,000.00


Leif M. Clark                              3722-000               NA         1,000.00          1,000.00          1,000.00


Kebo Oil & Gas, Inc.                       3991-000               NA           225.00            225.00           225.00

TOTAL CHAPTER 7 ADMIN. FEES                                  $ NA      $ 1,158,955.65    $ 1,290,860.85    $ 1,290,860.85
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                        CLAIMS          CLAIMS            CLAIMS
                PAYEE                      TRAN.                                                          CLAIMS PAID
                                                      SCHEDULED        ASSERTED          ALLOWED
                                           CODE

Prior Chapter Trustee Compensation:
Michael B. Schmidt Trustee                 6101-000               NA              0.00        10,680.00        10,680.00


Prior Chapter Trustee Expenses:
Michael B. Schmidt Trustee                 6102-000               NA         4,696.48          4,696.48          4,696.48




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                                           UNIFORM
                                                         CLAIMS          CLAIMS            CLAIMS
                PAYEE                       TRAN.                                                         CLAIMS PAID
                                                       SCHEDULED        ASSERTED          ALLOWED
                                            CODE

Prior Chapter Attorney for Trustee
Fees (Trustee Firm): Law Offices of
Michael B. Schmidt                          6110-000               NA              0.00       27,890.00        27,890.00


Prior Chapter Attorney for Trustee
Expenses (Trustee Firm): Law Offices
of Michael B. Schmidt                       6120-000               NA              0.00          822.50           822.50


Attorney for Trustee/D-I-P Fees
(Other Firm) (Chapter 11): Langley &
Banack, Inc.                                6210-000               NA      279,210.08        279,210.08       279,210.08


Attorney for Trustee/D-I-P Expenses
(Other Firm) (Chapter 11): Langley &
Banack, Inc.                                6220-000               NA        6,927.34          6,927.34         6,927.34


Prior Chapter Accountant for
Trustee/DIP Fees (Other Firm):
WARD MCCAMPBELL, PC                         6410-000               NA       14,855.75         14,855.75        14,855.75


Prior Chapter Accountant for
Trustee/DIP Expenses (Other Firm):
WARD MCCAMPBELL, PC                         6420-000               NA           52.92             52.92            52.92


Administrative Rent (post-petition
storage fees, leases, etc.) (Chapter
11): Stewart Title company                  6920-000               NA          405.93            405.93           405.93


Prior Chapter Other Operating
Expenses: Kebo Oil & Gas, Inc.              6950-000               NA       14,564.98         14,564.98        14,564.98




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                                           UNIFORM
                                                                CLAIMS            CLAIMS              CLAIMS
                PAYEE                       TRAN.                                                                      CLAIMS PAID
                                                              SCHEDULED          ASSERTED            ALLOWED
                                            CODE

Other Prior Chapter Administrative
Expenses: Baker Hughes Oilfield
Operations, Inc.                            6990-000                      NA                0.00        110,095.38         110,095.38

TOTAL PRIOR CHAPTER ADMIN.                                             $ NA        $ 320,713.48       $ 470,201.36        $ 470,201.36
FEES AND CHARGES



             EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                  CLAIMS            CLAIMS
                                                   UNIFORM
                                                                SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                              CLAIMS PAID
                                                                 (from Form      (from Proofs of     ALLOWED
                                                    CODE
                                                                     6E)             Claim)

              The Lauro & Hortencia Lopez
22            Mineral Trust                        5800-000                NA           75,000.00               0.00              0.00

TOTAL PRIORITY UNSECURED                                                  $ NA        $ 75,000.00            $ 0.00             $ 0.00
CLAIMS



             EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                  CLAIMS            CLAIMS
                                                   UNIFORM
                                                                SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                              CLAIMS PAID
                                                                 (from Form      (from Proofs of     ALLOWED
                                                    CODE
                                                                     6F)             Claim)

              Baker Hughes Oilfield
12a           Operations, Inc.                     7100-000                NA          845,715.89       450,621.62         183,906.39


13            CC Forbes LLC                        7100-000                NA           29,315.00         29,315.00         11,963.95


3             Derrick Corporation                  7100-000                NA           13,094.78         13,094.78           5,344.20


21            Dnow Lp                              7100-000                NA                43.17             43.17             17.62




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                                                               CLAIMS           CLAIMS
                                                  UNIFORM
                                                             SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                          CLAIMS PAID
                                                              (from Form     (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)            Claim)

11           Greens Energy Group, LLC             7100-000             NA             3,518.13        3,518.13              0.00


             Halliburton Energy Services,
5            Inc.                                 7100-000             NA           27,128.87        27,128.87         11,071.76


4            Internal Revenue Service             7100-000             NA                 0.00             0.00             0.00


2a           Ltd. Fesco                           7100-000             NA           49,431.85        26,338.77         10,749.30


             Ltd. L. O. G. Energy
19           Development                          7100-000             NA           50,000.00        50,000.00         20,405.85


10a          Ltd. Pioneer Drilling Services 7100-000                   NA          474,799.10      252,987.21         103,248.41


             Magnum Producing , LP                7100-000             NA             7,378.08        7,378.08          7,378.08


7            Nov Wilson                           7100-000             NA               668.02          668.02            272.63


             Oil States Energy Services,
6            LLC                                  7100-000             NA             5,660.66        5,660.66          2,310.21


             Peak Completion
9            Technologies, Inc.                   7100-000             NA           15,101.00        15,101.00          6,162.98


             Registry of the Court                7100-000             NA             1,435.81        1,435.81          1,435.81


             Weatherford International,
1            Inc.                                 7100-000             NA           89,821.75        89,821.75         36,657.79

TOTAL GENERAL UNSECURED                                               $ NA     $ 1,613,112.11     $ 973,112.87      $ 400,924.98
CLAIMS




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                                                                                     FORM 1
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                  ASSET CASES
                                                                                                                                                                                                    Exhibit 8
Case No:              13-50114                          DRJ      Judge:        David R Jones                              Trustee Name:                      MICHAEL B. SCHMIDT, Chapter 7 Trustee
Case Name:            L.O.G. Energy Exploration, LTD.                                                                     Date Filed (f) or Converted (c):   01/26/2015 (c)
                                                                                                                          341(a) Meeting Date:               02/19/2015
For Period Ending:    10/07/2019                                                                                          Claims Bar Date:                   06/05/2015


                                   1                                          2                          3                             4                          5                             6

                         Asset Description                                  Petition/              Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                     Unscheduled          (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                            Values              Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                    Exemptions,                                                                               Assets
                                                                                                  and Other Costs)

  1. 29% working interest in well LOPEZ GU#1 in Zapata County,                          0.00                       0.00                                                       0.00                        FA
     TX
  2. Commercial checking-TX Community Bank 6569                                     8,667.14                       0.00                                                       0.00                        FA
  3. Comm chking Revenue TX Community #7369                                             0.00                       0.00                                                       0.00                        FA
  4. Comm chking Rev Suspense TX Community #9792                                        0.00                       0.00                                                       0.00                        FA
  5. Accounts Receivable                                                          394,031.86                       0.00                                                       0.00                        FA
  6. Licenses, fraqnchises nd other intangibles                                         0.00                       0.00                                                       0.00                        FA
  7. 2007 Jeep Wrangler                                                            12,400.00                       0.00                                                 9,258.00                          FA
  8. 2008 GMC Sierra K1500                                                         14,857.00                       0.00                                                10,544.00                          FA
  9. office equipment, ffurnishings and supplies                                    2,241.25                       0.00                                                       0.00                        FA
 10. Machinery, fixtures, equipment and supplies                                   55,000.00                       0.00                                                 4,831.75                          FA
 11. Undisclosed leases and wells (u)                                                   0.00                       0.00                                               961,271.00                          FA
 12. Wells Fargo DIP 6750 (Asset #2)                                                    0.00                       0.00                                               190,153.41                          FA
 13. Wells Fargo DIP 1174 (Asset #4)                                                    0.00                       0.00                                                67,839.80                          FA
 14. Wells Fargo DIP Revenue 6743 (Asset#3)                                             0.00                       0.00                                               721,563.44                          FA
 15. Settlment / Keeling & Downes PC (u)                                                0.00                  15,000.00                                                15,000.00                          FA
 16. Settlment with Attorneys per order #298 (u)                                        0.00                 150,000.00                                               150,000.00                          FA
 17. Settlment with Trevino, Valls & Haynes, LLP (u)                                    0.00                  17,000.00                                                17,000.00                          FA
 18. well salvage #3 pipe                                                               0.00                       0.00                                                 4,810.00                          FA
 19. well salvage 2 tanks                                                               0.00                       0.00                                                 1,200.00                          FA
 20. Montecristo Energy from Magnum                                                     0.00                       0.00                                               633,096.18                          FA
 21. Blue Fire Engery from Magnum                                                       0.00                       0.00                                               274,816.22                          FA
 22. Kebo Oil & Gas                                                                     0.00                       0.00                                                83,683.42                          FA
 23. Unknown suspense from Kebo                                                         0.00                       0.00                                                 7,076.24                          FA




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                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              13-50114                          DRJ           Judge:        David R Jones                                Trustee Name:                      MICHAEL B. SCHMIDT, Chapter 7 Trustee
Case Name:            L.O.G. Energy Exploration, LTD.                                                                            Date Filed (f) or Converted (c):   01/26/2015 (c)
                                                                                                                                 341(a) Meeting Date:               02/19/2015
For Period Ending:    10/07/2019                                                                                                 Claims Bar Date:                   06/05/2015


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

 24. Void (u)                                                                                 0.00                        N/A                                                        0.00                        FA
 25. AR from Hal's Landing                                                           2,195,674.77                2,195,674.77                                                        0.00                        FA
 26. AR from LOG Energy Developmnet LTD                                                 831,300.00                        0.00                                                       0.00                        FA
 27. Railroad Commission of Texas                                                             0.00                        0.00                                                       0.00                        FA
 28. Auction sale of Claim in Thomas Lamont Case #15-50120-                                   0.00                   5,877.00                                                 5,877.00                           FA
 29. unclaimed property from Texas Comptroller of Public Accounts                             0.00                     833.18                                                     833.18                         FA
     (u)
 30. Insurance refund (u)                                                                     0.00                     147.23                                                     147.23                         FA
INT. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                        0.00                    Unknown


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $3,514,172.02              $2,384,532.18                                            $3,159,000.87                          $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  2/23/15 converted to 7 1/23/15; meeting to be held 2/25/15 in San Antonio

  3/21/17 Trustee attended mediation which was settled; Trustee plugging wells

  12/5/17 wells plugged; reviewing POC Registry; have a claim in a chp 11 case Lamont

  12/31/17 Finishing settlements; waiting on Chapter 11 case

  3/27/18 Viewing claims in case; filed mot to sale by auction unsecured claim of $1.75m in Case No. 15-50120

  6/13/18 Trustee working on having case closed by 12/31/18




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RE PROP #           2   --   Texas Community Bank
                             6721 McPherson Rd
                             Laredo, TX 78045                                                                      Exhibit 8
                             Operating Acct Acct # 6569


RE PROP #           3   --   Texas Community Bank 6721 McPherson Rd
                             Laredo, TX 78045 Revenue Account Acct @7369
                             $101,930.64

                             (funds of royalty Interest and working Interest owners, acct In Debtors name only)

RE PROP #           4   --   Texas Community Bank 6721 McPherson Rd
                             Laredo,TX 78045
                             Revenue Suspense Account Acct # 9792
                             $68,414.25
                             (mineral and royalty Interest owners)

RE PROP #           5   --   see attached list marked EXHIBIT B-16 from schedules

RE PROP #           6   --   Railroad Commission of Texas Oil & Gas Division
                             P-5 RRC Operator No. 480181

RE PROP #           7   --   VIN XXXXXXXXXXXXX. 0828; court order

RE PROP #           8   --   court order
                             VIN XXXXXXXXXXXXX. 7812

RE PROP #           9   --
                             See attached list of FF&E marked EXHIBIT B-28 on Schedule B

RE PROP #          10   --
                             See attached list of machinery/equipment/supplies used in business marked EXHIBIT
                             B-29

RE PROP #          11   --   Trustee sold undisclosed leases and wells
RE PROP #          12   --   closed after conversion
RE PROP #          13   --   Revenuse Suspense Account for working interest owners
                             closed after conversion; not sure who owns the funds
RE PROP #          14   --   Revenue funds only for working interest owners
                             closed after conversion
RE PROP #          15   --   Compromise & Settlment per order #299
RE PROP #          16   --   Hornbergr Fuller & Garza Inc.
RE PROP #          17   --   Joint Motion to compromise and settle Order #300
RE PROP #          22   --   Oil and gas Settlment Statement for ELMB1, 2, 3
RE PROP #          24   --   Oil and gas Settlment Statement for ELMB1, 2, 3
RE PROP #          25   --   due and owing to royalty owners debtor unable to locate
RE PROP #          26   --   receiveables due and owing to royalty owners unable to locate




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Initial Projected Date of Final Report (TFR): 12/31/2016   Current Projected Date of Final Report (TFR): 12/31/2018


                                                                                                                       Exhibit 8




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                              Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                            Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX1792
                                                                                                                                            Chapter 11 Checking
  Taxpayer ID No: XX-XXX3892                                                                               Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                   6                       7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                             ($)
   02/19/14             7         Thomas A Lamont                           Sale of Vechile                                        1129-000                 $9,258.00                                   $9,258.00
                                  104 Azinger Dr.                           2004 Jeep Wrangler
                                  Laredo, Texas 78045
   02/19/14             8         Hal's Landing, LTD                        Sale of 2008 GMC Truck                                 1129-000               $10,544.00                                  $19,802.00
                                  6510 Arena Drive
                                  Laredo, Tx 78041
   03/07/14                       First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $10.00           $19,792.00
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/07/14            101        WARD MCCAMPBELL, PC                       November and December bill                             6410-000                                         $990.00           $18,802.00
                                  711 N. Carancahua, Ste. 1730              for MORs' pd per order #103
                                  Corpus Christi, Texas 78401               November $495.00
                                                                            December $495.00
   04/07/14                       First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $20.30           $18,781.70
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/30/14            102        Joel Villalon                             pay check for 4/21 thru 4/25/14                        2690-000                                        ($812.63)          $19,594.33
                                  501 Liberty Lane                          Reversal
                                  La Feria TX, 78559                        Gross $1000.00
                                                                            SS -62.00
                                                                            Medicare -14.50
                                                                            W/H -110.87
                                                                            WRITTEN OUT OF WRONG
                                                                            ACCOUNT
   04/30/14            102        Joel Villalon                             pay check for 4/21 thru 4/25/14                        2690-000                                         $812.63           $18,781.70
                                  501 Liberty Lane                          Gross $1000.00
                                  La Feria TX, 78559                        SS -62.00
                                                                            Medicare -14.50
                                                                            W/H -110.87
   05/07/14                       First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $19.30           $18,762.40
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/06/14                       First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                          $19.92           $18,742.48
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/19/14            103        Clerk, US Bankruptcy Court                Filing fee for Motion to sale per                      2700-000                                         $176.00           $18,566.48
                                                                            order #105
                                                                            Sale of 2008 GMC Pickup
                                                                            Sale of 2007 Jeep 4T

                                                                                    Page Subtotals:                                                       $19,802.00            $1,235.52
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                    Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX1792
                                                                                                                                            Chapter 11 Checking
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                        ($)
   07/08/14                       First National Bank - Vinita              Bank Service Fee                                         2600-000                                      $19.23          $18,547.25
                                  102 W. Illinois Avenue
                                  Vinita, OK 74301
   08/07/14                       First National Bank - Vinita              Bank Service Fee under 11                                2600-000                                      $19.70          $18,527.55
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/08/14                       First National Bank - Vinita              Bank Service Fee under 11                                2600-000                                      $19.67          $18,507.88
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/09/14            104        WARD MCCAMPBELL, PC                       pd per order #127                                                                                  $4,932.71           $13,575.17
                                  711 N. Carancahua, Ste. 1730              Fees $4906.25
                                  Corpus Christi, Texas 78401               Exp $26.46
                                                                            March 7, 2014 Thru July
                                                                            20,2014
                                  WARD MCCAMPBELL, PC                       Pd per order#127                          ($4,906.25)    6410-000

                                  WARD MCCAMPBELL, PC                       Pd per order #127                           ($26.46)     6420-000

   09/11/14            105        U. S. Trustee                             Acct #4151350114                                         2950-000                                  $4,875.00             $8,700.17
                                  U.S. Trustee Payment Center               Quarterly Fees ending 7-8-14
                                  PO Box 530202
                                  ATlanta, GA 30353-0202
   10/02/14            106        George Adams and CO Ins AGCY LLC          Bond coverage of Wells Fargo                             2300-000                                  $5,905.00             $2,795.17
                                  4501 Carwright Road                       Accts
                                  Suite 402                                 Accounts with Oil & Gas
                                  Missouri City, Tx 77459                   Income is received
   10/07/14                       First National Bank - Vinita              Bank Service Fee under 11                                2600-000                                      $13.14            $2,782.03
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/07/14                       First National Bank - Vinita              Bank Service Fee under 11                                2600-000                                      $10.00            $2,772.03
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/25/14             11        Kanwal Ahuja                              Sale of Oil & Gas Interest                               1229-000             $24,031.78                               $26,803.81
                                                                            American Bank Cashier's check
   11/25/14             11        Anderson 2X PLLC                          Sale of Oil & Gas Interest                               1229-000            $480,635.50                              $507,439.31
                                                                            Community Bank Cashiers
                                                                            Check
                                                                            Michael Mintz


                                                                                   Page Subtotals:                                                       $504,667.28          $15,794.45
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                              Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                            Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX1792
                                                                                                                                            Chapter 11 Checking
  Taxpayer ID No: XX-XXX3892                                                                               Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                              Separate Bond (if applicable):


       1                2                              3                                             4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   11/25/14             11        Magnum Producing LP                       Sale of Oil & Gas Interest                             1229-000              $446,991.01                               $954,430.32
                                                                            American Bank Cashier's
                                                                            Check
   11/25/14             11        Sunil K Ahuja                             Sale of Oil & Gas Interest                             1229-000                 $9,612.71                              $964,043.03
                                                                            Cashier's check Wells Fargo
                                                                            Bank.
                                                                            Partial of Sale price of
                                                                            $961,271.00
   12/05/14                       First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                        $167.45         $963,875.58
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/08/14            107        Stewart Title company                     preliminary Run Sheet                                  6920-000                                        $405.93         $963,469.65
                                  1016 Monaco Blvd                          LOG Energy Exploration, LTD,
                                  Laredo, Texas 78/045                      LOG Energy Development,
                                                                            Ltd., Thomas Alan Lamont,
                                                                            Mast South Texas Interests, LP,
                                                                            LOG Energy Management,
                                                                            LLC, Hal's Landing, Ltd and
                                                                            Hal's Entertainment &
                                                                            Management Services, LLC
   12/11/14            108        U. S. Trustee                             Quarterly fee                                          2950-000                                     $1,950.00          $961,519.65
                                  U.S. Trustee Payment Center               Disbursements July, Aug. Sept
                                  PO Box 530202                             $285852.84
                                  Atlanta, GA 30353-0202                    Trustee fee pd $4875.00
                                                                            Total Disbursements for 3rd
                                                                            Quarter $290727.84
   01/08/15                       First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                     $1,022.02          $960,497.63
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/21/15            10         Pyramid Tubular Products, L.P.            Purchase of material held by                           1129-000                 $4,831.75                              $965,329.38
                                  2 Northpoint Dr. Suite 610                PTPT
                                  Houston, Tx 770+0
   02/06/15                       First National Bank - Vinita              Bank Service Fee under 11                              2600-000                                     $1,021.77          $964,307.61
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                                                                   Page Subtotals:                                                       $461,435.47            $4,567.17
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                              Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                            Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX1792
                                                                                                                                           Chapter 11 Checking
  Taxpayer ID No: XX-XXX3892                                                                             Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                     6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
   02/07/15            109        WARD MCCAMPBELL, PC                       Fee & Expenses per order                                                                             $8,985.96          $955,321.65
                                  711 N. Carancahua, Ste. 1730              #206
                                  Corpus Christi, Texas 78401               July 31, 2014 thru Jan 6, 2015
                                                                            Fee $8959.50
                                                                            Exp $26.46
                                  WARD MCCAMPBELL, PC                                                                ($8,959.50)    6410-000

                                  WARD MCCAMPBELL, PC                                                                   ($26.46)    6420-000

   02/09/15                       Transfer to Acct # xxxxxx2254             Transfer of Funds                                       9999-000                                   $955,321.65                 $0.00



                                                                                                             COLUMN TOTALS                              $985,904.75            $985,904.75
                                                                                                                   Less: Bank Transfers/CD's                     $0.00         $955,321.65
                                                                                                             Subtotal                                   $985,904.75             $30,583.10
                                                                                                                   Less: Payments to Debtors                     $0.00                $0.00
                                                                                                             Net                                        $985,904.75             $30,583.10




                                                                                   Page Subtotals:                                                               $0.00         $964,307.61
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                    Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2254
                                                                                                                                             Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                        5                6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                        ($)
   02/09/15                       Transfer from Acct # xxxxxx1792           Transfer of Funds to Chapter 7                            9999-000            $955,321.65                              $955,321.65
                                                                            conversion
   02/10/15            101        Langley & Banack, Inc.                    Fee & Exp per order #210                                                                           $62,478.28          $892,843.37
                                  745 East Mulberry, Ste 900                May 28, 2014 thru November
                                  San Antonio, Tx 78212                     15,2014
                                                                            Fee $60222.50
                                                                            Exp $2255.78
                                  Langley & Banack                                                                    ($60,222.50)    6210-000

                                  Langley & Banack                                                                     ($2,255.78)    6220-000

   02/10/15            102        Law Offices of Michael B. Schmidt         Fees & expenses pd per order                                                                       $28,712.50          $864,130.87
                                  401 Grant Place                           #211
                                  Corpus Christi, Tx 78411                  Oct. 16, 2013 thru Oct. 31,
                                                                            2014
                                                                            Fees $27890.00
                                                                            Exp $822.50
                                  Law Offices of Michael B. Schmidt                                                   ($27,890.00)    6110-000

                                  Law Offices of Michael B. Schmidt                                                     ($822.50)     6120-000

   02/10/15            103        Michael B. Schmidt, Trustee               Chp 11 Trustee Fee & exp pd                                                                        $15,376.48          $848,754.39
                                  401 Grant Place                           per order #213
                                  Corpus Christi, Tx 78411                  November 18, 2013 thru Jan.
                                                                            23, 2015
                                                                            Fee $10680.00
                                                                            Exp $4696.48
                                  Michael B. Schmidt Trustee                                                          ($10,680.00)    6101-000

                                  Michael B. Schmidt Trustee                                                           ($4,696.48)    6102-000

   02/12/15            104        LP Magnum Production                      per order #220 Oil and Gas                                2690-000                                ($97,523.48)         $946,277.87
                                  500 N. Shoreline Blvd. #322               production for December 2014
                                  Corpus Christi, Tx 78401-0309             in the Alexander, Mendoza and
                                                                            Martinez leases and wells.
                                                                            Reversal
                                                                            Was written out of wrong
                                                                            account, needs to be out of
                                                                            production acct.



                                                                                   Page Subtotals:                                                        $955,321.65           $9,043.78
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                 Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                               Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX2254
                                                                                                                                              Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                                Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                               Separate Bond (if applicable):


       1                2                               3                                             4                                                        5                  6                       7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                             Code                                                            ($)
   02/12/15            104        LP Magnum Production                       per order #220 Oil and Gas                                2690-000                                   $97,523.48            $848,754.39
                                  500 N. Shoreline Blvd. #322                production for December 2014
                                  Corpus Christi, Tx 78401-0309              in the Alexander, Mendoza and
                                                                             Martinez leases and wells.
   02/23/15            105        , Langley & Banack                         Second and final attorney fees                                                                       $12,631.18            $836,123.21
                                  Suite 900, Trinity Plaza II                and expenses for November
                                  745 East Mulberry                          16th 2014 thru Feb 6th 2015
                                  San Antonio, Tx 78212                      per order #226
                                                                             Fees incurred 11/16/14 thru
                                                                             2/6/15 $12350.00
                                                                             Exp incurred 11/16/14 thru
                                                                             2/6/15 $281.18
                                  , Langley & Banack                                                                   ($12,350.00)    6210-000

                                  , Langley & Banack                                                                     ($281.18)     6220-000

   03/05/15            106        Plunkett & Griesenbeck, Inc.               Mediator Ronald Hornberger                                3721-000                                    $1,250.00            $834,873.21
                                  Ste 900, 1635 N. E. Loop 410               for 3/17/15 per order #231
                                  San Antonio, Tx 78209                      1/2 of day fee for mediation
   03/30/15                       George Adams & Co Insurance Agency,        Return of premium on                                      2300-000                                   ($3,937.00)           $838,810.21
                                  LLC                                        conversion of 11 to Chap 7
                                  4501 Carwright, #402
                                  Missouri City, Tx 77459
   05/04/15            107        Baker Hughes Oilfield Operations, Inc.     Administrative fee pd per order                           6990-000                                  $110,095.38            $728,714.83
                                  c/o Blake Hamm                             #251
                                  Snow Spence Green LLP
                                  2929 Allen Parkway, Suite 2800
                                  Houston, TX 77019

   06/01/15                       Plunkett & Griesenbeck, Inc.               Reimbursement of partial                                  3210-000                                       ($250.00)         $728,964.83
                                  1635 N.E. Loop 410, Suite 900              mediation fee
                                  San Antonio, Tx 78209
   06/05/15            108        Texas Community Bank                       Settlement in adversary #14-                              4110-000                                  $225,000.00            $503,964.83
                                  C/O John F. Higgins                        5005 per order #253
                                  Porter Hedges LLP                          Adv. #14-5005
                                  1000 Main Street, 36th Fl.                 Texas Community Bank v.
                                  Houston, Texas 77002                       L.O.G. Energy Exploration

   08/24/15                       United States Treasury                     Reimbursement of quarterly                                2950-000                                   ($7,475.00)           $511,439.83
                                  United States Trustee                      fees

                                                                                    Page Subtotals:                                                                $0.00         $434,838.04
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                 Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                               Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX2254
                                                                                                                                              Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                               Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                              Separate Bond (if applicable):


       1                2                                3                                            4                                                        5                  6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                          ($)
   08/25/15            109        The Law Offices of William B. Kingman,     Fees & expenses pd pe order                                                                          $17,350.53          $494,089.30
                                  P.C.                                       #209
                                  4040 Broadway, Suite 450                   Fees $44117.50
                                  San Antonio, Tx 78209                      Expenses $733.03
                                                                             Less Retainer of $27,500.00
                                  The Law Offices of William B. Kingman,                                               ($16,617.50)    3701-000
                                  P.C.
                                  The Law Offices of William B. Kingman,                                                 ($733.03)     3702-000
                                  P.C.
   08/25/15            110        Ward McCampbell, PC                        Fees and expenses per order                                                                          $10,742.71          $483,346.59
                                  711 N. Carancahua, Ste. 1730               #262
                                  Corpus Christi, Texas 78401                January 7 2015 thru July 21,
                                                                             2015
                                                                             Fee $10716.25
                                                                             Exp $26.45
                                  Ward McCampbell, PC                                                                  ($10,716.25)    3410-000

                                  Ward McCampbell, PC                                                                      ($26.46)    3420-000

   10/05/15            111        Kebo Oil & Gas, Inc.                       Fee & Exp for El Milagro 1, 2, 3                          2690-000                                    $1,750.98          $481,595.61
                                  607 Railroad Drive                         per settlement Statment
                                  Portland, Tx 78374                         10/1/15
   10/07/15            112        LTD. International Sureties                2015 Bond                                                 2300-000                                       $559.20         $481,036.41
                                  Suite 420                                  Payment/#016067214
                                  701 Poydras St.
                                  New Orleans, LA 70139
   11/09/15                       Kebo Oil & Gas, Inc.                       El Milagro Wells                                          1123-000                $1,665.09                              $482,701.50
                                  607 Railroad Drive
                                  Portland, Tx 78374
   11/09/15                       Kebo Oil & Gas, Inc.                       El Milagro Wells Reversal                                 1123-000             ($1,665.09)                               $481,036.41
                                  607 Railroad Drive                         Should be put into Suspense
                                  Portland, Tx 78374                         acct.
   12/14/15            113        Langley & Banack, Inc.                     Attorney Fees and expenses                                                                           $35,923.49          $445,112.92
                                  Suite 900, Trinity Plaza II                paid per order #268
                                  745 East Mulberry                          Attorney Fee $34432.50
                                  San Antonio, Tx 78212                      Expenses $1490.99
                                  Langley & Banack, Inc.                     pd per order #268                         ($34,432.50)    3210-000



                                                                                    Page Subtotals:                                                                $0.00          $66,326.91
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                 Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                               Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX2254
                                                                                                                                              Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                                Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                               Separate Bond (if applicable):


       1                2                                3                                            4                                                        5                    6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                  Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                            ($)
                                  Langley & Banack, Inc.                    pd per order #268                           ($1,490.99)    3120-000

   01/02/16            114        Law Offices of Michael B. Schmidt         Attorney's fees & expenses                                                                              $30,722.83          $414,390.09
                                  401 Grant Place                           paid per order #265
                                  Corpus Christi, Tx 78411                  Fees $29895.00
                                                                            Expenses $827.83
                                                                            November 3, 2014 thru August
                                                                            18, 2015
                                  Law Offices of Michael B. Schmidt                                                    ($29,895.00)    3110-000

                                  Law Offices of Michael B. Schmidt                                                      ($827.83)     3120-000

   01/19/16            115        Kebo Oil & Gas, Inc.                      Invoices dated 12/14/2015 &                                2690-000                                      $2,000.00          $412,390.09
                                  607 Railroad Drive                        1/14/2016 for work done on
                                  Portland, Tx 78374                        GAU letter
                                                                            Inv. dated 12/17/15 $1800.00
                                                                            Inv. dated 1/14/16 $200.00 to
                                                                            water Board
                                                                            Letters include work done on
                                                                            suspense wells.
   02/03/16                       Kebo Oil & Gas, Inc.                      El Milagro "B" well royalties                              1123-000                    $810.86                              $413,200.95
                                  607 Railroad Drive
                                  Portland, Tx 78374
   02/03/16                       Kebo Oil & Gas, Inc.                      El Milagro "B" well royalties                              1123-000                ($810.86)                                $412,390.09
                                  607 Railroad Drive                        Reversal
                                  Portland, Tx 78374                        Should be put into suspense
                                                                            account
   02/11/16            116        Kebo Oil & Gas, Inc.                      Operating costs and                                        2690-000                                     $21,708.93          $390,681.16
                                  607 Railroad Drive                        Administrative Overhead,
                                  Portland, Tx 78374                        El Milagro "B" 2 Bajo, 2, 3 wells
   02/15/16            117        In Kebo Oil & Gasc.                       Inv. #KB-1106, for consulation                             2690-000                                         $500.00         $390,181.16
                                  607 Railroad Drive                        of El Milagro Lease
                                  Portland, Tx 78374                        Penn 51 lease, check inventory
   03/30/16            118        In Kebo Oil & Gasc.                       Reversal                                                   2690-000                                     ($5,494.05)         $395,675.21
                                  607 Railroad Drive
                                  Portland, Tx 78374
   03/30/16            118        In Kebo Oil & Gasc.                                                                                  2690-000                                      $5,494.05          $390,181.16
                                  607 Railroad Drive
                                  Portland, Tx 78374


                                                                                    Page Subtotals:                                                                  $0.00          $54,931.76
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                               Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX2254
                                                                                                                                             Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                               Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction                 Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   03/30/16            119        Kebo Oil & Gas, Inc.                      Operating costs and                                       2690-000                                     $5,494.05          $384,687.11
                                  607 Railroad Drive                        Administrative Overhead,
                                  Portland, Tx 78374                        El Milagro "B" 2 Bajo, 2, 3 wells
   06/08/16                       L.O.G. Exploration, LTD Debtor in         CLOSE Production acct in                                                          $13,618.12                              $398,305.23
                                  Possession                                Wells Fargo Bank
                                  Wells Fargo Production Acct
                                                                            Gross Receipts                             $161,826.47

                                  Wells Fargo Bank Fee                      Bank fee                                     ($360.00)    2600-000

                                  Kebo OIl & Gas                            production to disburse                 ($147,848.35)      2690-000

                       12                                                   Wells Fargo DIP 6750 (Asset                $161,826.47    1123-000
                                                                            #2)
   07/13/16            120        Kebo Oil & Gas, Inc.                      Operating costs and                                       2690-000                                     $4,016.94          $394,288.29
                                  607 Railroad Drive                        Administrative Overhead,
                                  Portland, Tx 78374                        for El Milagro "B" 1 Bajo , 2 & 3
   08/12/16            121        Wells Fargo Bank                          To close Bank Account in Wells                            2600-000                                         $80.00         $394,208.29
                                  C/O L.O.G. Exploration, LTD               Fargo
   08/29/16            122        Ward McCampbell, PC                       Fee & Expenses paid per order                                                                          $7,580.21          $386,628.08
                                  711 N. Carancahua, Ste. 1730              #284
                                  Corpus Christi, Texas 78401               Fee $7536.00
                                                                            Exp $44.21
                                                                            June 30, 2016 thru August 2,
                                                                            2016
                                  Ward McCampbell, PC                       per order #284                             ($7,536.00)    3410-000

                                  Ward McCampbell, PC                                                                     ($44.21)    3420-000

   10/04/16            123        LTD. International Sureties               2016 Bond payment                                         2300-000                                        $423.57         $386,204.51
                                  Suite 420
                                  701 Poydras St.
                                  New Orleans, LA 70139
   11/15/16                       Transfer from Acct # xxxxxx2265           Transfer of Funds                                         9999-000            $607,156.00                                 $993,360.51




                                                                                    Page Subtotals:                                                       $620,774.12             $17,594.77
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                             Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                           Bank Name: First National Bank - Vinita
                                                                                                                 Account Number/CD#: XXXXXX2254
                                                                                                                                           Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                      5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/15/16            126        Baker Hughes Oilfield Oper., Inc.         Claim #12 paid per order #287                         4110-000                                  ($395,999.24)        $1,389,359.75
                                  C/O Blake Hamm                            Reversal
                                  Snow Spence Green Llp                     out of wrong acct.
                                  2929 Allen Parkway, Suite 2800
                                  Houston, Tx 77019
                                  713.335.4800
   11/15/16            125        Pioneer Drilling Services, Ltd.           Claim #10 pd per order #287                           4110-000                                  ($221,811.89)        $1,611,171.64
                                  Pioneer Drilling Services, Ltd.           Reversal
                                  C/O Zachary S. Mckay                      out of wrong acct.
                                  Dore'' Law Group, P.C.
                                  17171 Park Row, Suite 160
                                  Houston, Texas 77084
   11/15/16            124        Fesco, Ltd.                               Claim #2 pd per order #287,                           4110-000                                    ($23,093.08)       $1,634,264.72
                                  Fesco, Ltd.                               Reversal
                                  C/O Von A. Jones, Esq.                    out of wrong acct.
                                  Holland & Holland, Llc
                                  1250 Ne Loop 410, Suite 808
                                  San Antonio, Tx 78209
   11/15/16            124        Fesco, Ltd.                               Claim #2 pd per order #287,                           4110-000                                     $23,093.08        $1,611,171.64
                                  Fesco, Ltd.                               3.61 % Pro-Rata share
                                  C/O Von A. Jones, Esq.
                                  Holland & Holland, Llc
                                  1250 Ne Loop 410, Suite 808
                                  San Antonio, Tx 78209
   11/15/16            125        Pioneer Drilling Services, Ltd.           Claim #10 pd per order #287                           4110-000                                    $221,811.89        $1,389,359.75
                                  Pioneer Drilling Services, Ltd.           34.66% Pro-Rata share
                                  C/O Zachary S. Mckay
                                  Dore'' Law Group, P.C.
                                  17171 Park Row, Suite 160
                                  Houston, Texas 77084
   11/15/16            126        Baker Hughes Oilfield Oper., Inc.         Claim #12 paid per order #287                         4110-000                                    $395,999.24          $993,360.51
                                  C/O Blake Hamm                            61.73% Pro-Rata Share
                                  Snow Spence Green Llp
                                  2929 Allen Parkway, Suite 2800
                                  Houston, Tx 77019
                                  713.335.4800




                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                             Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                           Bank Name: First National Bank - Vinita
                                                                                                                 Account Number/CD#: XXXXXX2254
                                                                                                                                           Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                               Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/15/16            127        Ltd. Fesco                                Claim #2 pd per order #287,                           4110-000                                     $23,093.08          $970,267.43
                                  Fesco, Ltd.                               3.61% Pro-rata share
                                  C/O Von A. Jones, Esq.
                                  Holland & Holland, Llc
                                  1250 Ne Loop 410, Suite 808
                                  San Antonio, Tx 78209
   11/15/16            128        Ltd. Pioneer Drilling Services            Claim #10 pd per order #287                           4110-000                                    $221,811.89          $748,455.54
                                  Pioneer Drilling Services, Ltd.           34.66% Pro-rata share
                                  C/O Zachary S. Mckay
                                  Dore'' Law Group, P.C.
                                  17171 Park Row, Suite 160
                                  Houston, Texas 77084
   11/15/16            129        Baker Hughes Oilfield Operations, Inc.    Claim #12 paid per order #287                         4110-000                                    $395,094.27          $353,361.27
                                  C/O Blake Hamm                            61.73% Pro-rata share
                                  Snow Spence Green Llp
                                  2929 Allen Parkway, Suite 2800
                                  Houston, Tx 77019
                                  713.335.4800
   12/05/16            129        Baker Hughes Oilfield Operations, Inc.    Claim #12 paid per order #287                         4110-000                                  ($395,094.27)          $748,455.54
                                  C/O Blake Hamm                            Reversal
                                  Snow Spence Green Llp                     61.73% Pro-rata share
                                  2929 Allen Parkway, Suite 2800
                                  Houston, Tx 77019
                                  713.335.4800
   12/06/16            130        Baker Hughes Oilfield Operations, Inc.    Replace check #129, Claim #12                         4110-000                                    $395,094.27          $353,361.27
                                  C/O Blake Hamm                            pd per order #287
                                  Snow Spence Green Llp                     61.73% Pro=rata share
                                  2929 Allen Parkway, Suite 2800
                                  Houston, Tx 77019
                                  713.335.4800
   02/15/17            131        Leif M. Clark                             Mediator paid per order #290                          3722-000                                     ($1,000.00)         $354,361.27
                                  Leif M. Clark Consulting, PLLC            Reversal
                                                                            Address wrong
   02/15/17            131        Leif M. Clark                             Mediator paid per order #290                          3722-000                                      $1,000.00          $353,361.27
                                  Leif M. Clark Consulting, PLLC            NEVER PRINTED
   02/15/17            132        Leif M. Clark                             Mediator pd per order #290                            3722-000                                      $1,000.00          $352,361.27
                                  Leif M. Clark Constulting, PLLC
                                  PO Box 2676
                                  San Antonio, Tx 78299


                                                                                   Page Subtotals:                                                              $0.00         $640,999.24
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2254
                                                                                                                                             Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   06/05/17            15         Keeling & Downes PC                       Settlment payment per order                               1249-000                $15,000.00                              $367,361.27
                                  1500 McGowen Ste 220                      #299
                                  Houston, tx 77004
   07/13/17            133        Law Offices of Michael B. Schmidt         Attorney Fees & Exp per order                                                                         $25,493.46          $341,867.81
                                  401 Grant Place                           #305
                                  Corpus Christi, Tx 78411                  Fee $23415.00
                                                                            Exp $2078.46
                                  Law Offices of Michael B. Schmidt                                                   ($23,415.00)    3110-000

                                  Law Offices of Michael B. Schmidt                                                    ($2,078.46)    3120-000

   07/13/17            134        Stancil Property Tax, LLC                 Ad Valorem Tax 2017 Inv. #769                             4800-000                                        $250.00         $341,617.81
                                  400 E. Las Colinas Blvd., Suite 700       Zapata Co.
                                  Irving, tx 75039                          #M09189502313479, T-4
                                                                            Permit 07682, Pipeline
   08/14/17            16         Hornberger Fuller & Garza Inc.            Settlement with Attorneys per                             1241-000            $150,000.00                                 $491,617.81
                                  7373 Broadway, Ste 300                    roder #298
                                  San Antonio, Texas 78209
   10/02/17            17         Trevino, Valls, & Haynes LLP              Settlement per order #300                                 1249-000                $17,000.00                              $508,617.81
                                  6909 Springfield Ave. Suite 200
                                  Laredo, Tx 78041
   10/02/17            135        International Sureties, Ltd.              Blanket Bond for 2017                                     2300-000                                        $251.16         $508,366.65
                                  701 Poydras St., Suite 420
                                  New Orleans, La 70139
   12/08/17            136        Langley & Banack, Inc.                    Special Council fee &                                                                                 $58,393.48          $449,973.17
                                  745 E. Mulberry, Suite 900                expenses per order #318
                                  San Antonio, Tx 78212
                                  Langley & Banack, Inc.                                                              ($58,343.08)    3210-000

                                  Langley & Banack, Inc.                                                                  ($50.40)    3220-000

   12/08/17            137        Langley & Banack, Inc.                    Contingency fee & expenses                                                                            $56,262.28          $393,710.89
                                  745 E. Mulberry, Suite 900                per roder #317
                                  San Antonio, Tx 78212
                                  Langley & Banack, Inc.                                                              ($54,600.00)    3210-000

                                  Langley & Banack, Inc.                                                               ($1,662.28)    3220-000



                                                                                   Page Subtotals:                                                        $182,000.00            $140,650.38
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                 Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                               Bank Name: First National Bank - Vinita
                                                                                                                    Account Number/CD#: XXXXXX2254
                                                                                                                                              Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                                 Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                                Separate Bond (if applicable):


       1                2                               3                                             4                                                        5                    6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                            ($)
   01/03/18            138        Law Offices of Michael B. Schmidt          Special Counsel Fees & Exp                                                                             $19,151.26          $374,559.63
                                  401 Grant Place                            per order #317
                                  Corpus Christi, Tx 78411                   Fee $18200.00
                                                                             Exp. $951.26
                                  Law Offices of Michael B. Schmidt                                                    ($18,200.00)    3110-000

                                  Law Offices of Michael B. Schmidt                                                      ($951.26)     3120-000

   07/26/18            139        CLERK, U.S. BANKRUPTCY COURT               Filing fee for Sale per order                             2700-000                                         $176.00         $374,383.63
                                  1133 N. Shoreline                          #324
                                  Corpus Christi, TX 78401
   07/27/18            28         BKassets.com LLC/ J & J Capital            Auction sale for claims per                               1129-000                $5,877.00                                $380,260.63
                                                                             roder #324
                                                                             claims in Thomas Lamont Case
                                                                             #15-50120
   08/08/18            29         Texas Comptroller of Public Accounts       Unclaimed property per claim                              1229-000                    $833.18                              $381,093.81
                                                                             #18438824
   09/06/18            140        BKASSETS.COM, LLC                          Auctioneer Commission &                                                                                 $1,081.00          $380,012.81
                                  216 N. Center                              Expenses paid per order #364
                                  Mesa, Arizona 85201                        Commission $535.20
                                                                             Exp 545.90
                                  BKASSETS.COM, LLC                          Auctioneer Commission &                    ($1,081.00)    3640-000
                                                                             Expenses paid per order #364
                                                                                                                             $0.00     3640-000

   09/06/18            141        BANKRUPTCY COURT CLERK                     pd per order #324                                         2700-000                                         $176.00         $379,836.81
                                  1133 Shoreline
                                  Corpus Christi, Tx 78401
   10/12/18            142        Liberty Mutual Insurance Co                2018 Blanket Bond                                         2300-000                                         $178.30         $379,658.51
                                  62 Maple Ave.
                                  Collections Ms 152
                                  Keene Nh 03431
   10/15/18            143        Langley & Banack, Inc.                     Attorney Fees & Expenses per                                                                           $60,448.71          $319,209.80
                                  Suite 900, Trinity Plaza II                order #371
                                  745 East Mulberry                          Fees $59262.00
                                  San Antonio, Tx 78212                      Expenses $1186.71
                                  Langley & Banack, Inc.                                                                ($1,186.71)    3220-000



                                                                                    Page Subtotals:                                                            $6,710.18            $81,211.27
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2254
                                                                                                                                             Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                        5                   6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)        Disbursements ($)   Account/CD Balance
                    Reference                                                                                                            Code                                                          ($)
                                  Langley & Banack, Inc.                                                              ($59,262.00)    3210-000

   10/15/18            144        Law Offices of Michael B. Schmidt         Attorney Fees and expenses                                                                            $14,724.50         $304,485.30
                                  401 Grant Place                           per order #370
                                  Corpus Christi, Tx 78411                  Attorney Fees $12325.00
                                                                            Expenses $2399.50
                                  Law Offices of Michael B. Schmidt                                                   ($12,325.00)    3110-000

                                  Law Offices of Michael B. Schmidt                                                    ($2,399.50)    3120-000

   10/22/18                       Transfer from Acct # xxxxxx2276           Transfer of Funds                                         9999-000                $13,761.96                             $318,247.26

   10/22/18                       Transfer from Acct # xxxxxx2287           Transfer of Funds                                         9999-000                $67,839.80                             $386,087.06

   10/22/18                       Transfer from Acct # xxxxxx2375           Transfer of Funds                                         9999-000            $126,500.12                                $512,587.18

   03/20/19            145        Michael B Schmidt Chapter 7               Trustee's compensation &                                                                             $119,040.28         $393,546.90
                                  Michael B Schmidt Chapter 7               expenses per orer #379
                                  401 Grant
                                  Corpus Christi, TX 78411
                                  Michael B Schmidt Chapter 7               Final distribution creditor           ($118,020.03)       2100-000
                                                                            account # representing a
                                                                            payment of 100.00 % per court
                                                                            order.
                                  Michael B Schmidt Chapter 7               Final distribution creditor                ($1,020.25)    2200-000
                                                                            account # representing a
                                                                            payment of 100.00 % per court
                                                                            order.
   03/25/19            146        Weatherford International, Inc.           Final distribution to claim 1                             7100-000                                    $36,657.79         $356,889.11
                                  c/o Jeff Carruth                          creditor account # representing
                                  Weycer, Kaplan, Pulaski & Zuber, P.C.     a payment of 40.81 % per court
                                  3030 Matlock Rd., Suite 201               order.
                                  Arlington, TX 76015
   03/25/19            147        Ltd. Fesco                                Final distribution to claim 2                             7100-000                                    $10,749.30         $346,139.81
                                  Fesco, Ltd.                               creditor account # representing
                                  C/O Von A. Jones, Esq.                    a payment of 40.81 % per court
                                  Holland & Holland, Llc                    order.
                                  1250 Ne Loop 410, Suite 808
                                  San Antonio, Tx 78209

                                                                                   Page Subtotals:                                                        $208,101.88            $181,171.87
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                             Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                           Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2254
                                                                                                                                           Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   03/25/19            148        Derrick Corporation                       Final distribution to claim 3                         7100-000                                      $5,344.20          $340,795.61
                                  Attn: Cherice Morgan                      creditor account # representing
                                  590 Duke Road                             a payment of 40.81 % per court
                                  Buffalo, NY 14225                         order.
   03/25/19            149        Halliburton Energy Services, Inc.         Final distribution to claim 5                         7100-000                                     $11,071.76          $329,723.85
                                  Attn: Alan Ludwig, Sr. Paralegal          creditor account # representing
                                  Halliburton Law Department                a payment of 40.81 % per court
                                  P.O. Box 42806Z                           order.
                                  Houston, TX 77042
   03/25/19            150        Oil States Energy Services, LLC           Final distribution to claim 6                         7100-000                                      $2,310.21          $327,413.64
                                  333 Clay Street, Suite 4980               creditor account # representing
                                  Houston, TX 77002                         a payment of 40.81 % per court
                                                                            order.
   03/25/19            151        Nov Wilson                                Final distribution to claim 7                         7100-000                                         $272.63         $327,141.01
                                  9720 Beachnut 2Nd Floor                   creditor account # representing
                                  Houston, Texas 77036                      a payment of 40.81 % per court
                                                                            order.
   03/25/19            152        Peak Completion Technologies, Inc.        Final distribution to claim 9                         7100-000                                      $6,162.98          $320,978.03
                                  P.O. Box 5786                             creditor account # representing
                                  Midland, TX 79704                         a payment of 40.81 % per court
                                                                            order.
   03/25/19            153        Ltd. Pioneer Drilling Services            Final distribution to claim 10                        7100-000                                    $103,248.41          $217,729.62
                                  Pioneer Drilling Services, Ltd.           creditor account # representing
                                  C/O Zachary S. Mckay                      a payment of 40.81 % per court
                                  Dore'' Law Group, P.C.                    order.
                                  17171 Park Row, Suite 160
                                  Houston, Texas 77084
   03/25/19            154        Greens Energy Group, LLC                  Final distribution to claim 11                        7100-000                                      $1,435.81          $216,293.81
                                  P.O. Box 676263                           creditor account # representing
                                  Dallas, TX 75267-6263                     a payment of 40.81 % per court
                                                                            order.
   03/25/19            155        Baker Hughes Oilfield Operations, Inc.    Final distribution to claim 12                        7100-000                                    $183,906.39           $32,387.42
                                  C/O Blake Hamm                            creditor account # representing
                                  Snow Spence Green Llp                     a payment of 40.81 % per court
                                  2929 Allen Parkway, Suite 2800            order.
                                  Houston, Tx 77019
                                  713.335.4800




                                                                                   Page Subtotals:                                                              $0.00         $313,752.39
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                     Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                    Account Number/CD#: XXXXXX2254
                                                                                                                                           Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   03/25/19            156        CC Forbes LLC                             Final distribution to claim 13                          7100-000                                   $11,963.95           $20,423.47
                                  Nisimblat & Basart, PLLC                  creditor account # representing
                                  PO Box 4154                               a payment of 40.81 % per court
                                  Alice, TX 78333                           order.
   03/25/19            157        Ltd. L. O. G. Energy Development          Final distribution to claim 19                          7100-000                                   $20,405.85                 $17.62
                                  c/o Randy Williams, Trustee               creditor account # representing
                                  Chapter 11 Plan of Reograngization        a payment of 40.81 % per court
                                  of Thomas A. Lamont                       order.
                                  Thompson & Knight
                                  811 Main, Ste. 2500
                                  Houston, TX 77002
   03/25/19            158        Dnow Lp                                   Final distribution to claim 21                          7100-000                                        $17.62                 $0.00
                                  7402 N. Eldridge Parkway                  creditor account # representing
                                  Houston, Tx 77041                         a payment of 40.82 % per court
                                                                            order.
   05/13/19            154        Greens Energy Group, LLC                  Final distribution to claim 11                          7100-000                                   ($1,435.81)            $1,435.81
                                  P.O. Box 676263                           creditor account # representing
                                  Dallas, TX 75267-6263                     a payment of 40.81 % per court
                                                                            order. Reversal
   05/20/19                       Transfer to Acct # xxxxxx0064             Transfer of Funds                                       9999-000                                    $1,435.81                  $0.00



                                                                                                              COLUMN TOTALS                           $1,972,907.83         $1,972,907.83
                                                                                                                    Less: Bank Transfers/CD's         $1,770,579.53             $1,435.81
                                                                                                              Subtotal                                  $202,328.30         $1,971,472.02
                                                                                                                    Less: Payments to Debtors                   $0.00                $0.00
                                                                                                              Net                                       $202,328.30         $1,971,472.02




                                                                                   Page Subtotals:                                                              $0.00          $32,387.42
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                             Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                           Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2265
                                                                                                                                           LOG Production
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


       1                2                                3                                           4                                                      5                    6                    7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.      Deposits ($)          Disbursements ($)   Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   02/09/15            14         Wells Fargo LOG Exploration Acct #6743    Cashiers check for Balance                            1290-000             $721,563.44                                  $721,563.44
                                                                            acct #6743 Less minimum of
                                                                            $25000.00
                                                                            Acct Balance of $746563.44 of
                                                                            Production
                                                                            less $25000.00 minimum
                                                                            balance for Wells Fargo acct#
                                                                            6743
   02/12/15            101        Kebo Oil & Gas, Inc.                      Fees for Production revenue                           6950-000                                       $17,031.19         $704,532.25
                                  607 Railroad Drive                        disbursement for December
                                  Portland, Tx 78374                        2014 per order #220
                                                                            El Milagro leases and wells
   02/12/15            102        Magnum Production, LP                     pd per order #220 for oil Gas                         4220-000                                       $97,523.48         $607,008.77
                                  500 N. Shoreline Blvd. #322               production December 2014 of
                                  Corpus Christi, Tx 78401-0309             Alexander, Mendoza and
                                                                            Martinez leases and wells
   03/05/15            103        Kebo Oil & Gas, Inc.                      January production                                    6950-000                                       $14,564.98         $592,443.79
                                  607 Railroad Drive                        Kinder Morgan
                                  Portland, Tx 78374
   03/06/15            12         L.O.G. Exploration, LTD DIP               Reimburse for Jan production                          1123-000              $14,564.98                                  $607,008.77
                                  Wells Fargo acct #6743                    to KEBO
   03/11/15            12         L.O.G. Exploration, LTD DIP               Reimburse for Jan production                          1123-000             ($14,564.98)                                 $592,443.79
                                  Wells Fargo acct #6743                    to KEBO Reversal
                                                                            Check did not clear, Wells
                                                                            Fargo bank inadvertently froze
                                                                            account, because of conversion
                                                                            to 7 from 11.
                                                                            Per MBS, acct now unfrozen.
                                                                            Reissuing new check.
   03/12/15            12         L.O.G. Exploration LTD DIP acct Wells     Reimburse for Jan production                          1123-000              $14,564.98                                  $607,008.77
                                  Fargo                                     pd to KEBO
                                                                            replace deposit of Check 1017
   08/21/15            30         Ballenger Construction Co.                Monies from Kebo, put into                            1229-000                      $147.23                             $607,156.00
                                  C/O Kebo Oil & Gas                        Ballenger
                                                                            Ck#149158 from Kebo Oil &
                                                                            Gas put into wrong Estate.
                                                                            insurance refund
   11/15/16                       Transfer to Acct # xxxxxx2254             Transfer of Funds to Chapter 7                        9999-000                                      $607,156.00                $0.00
                                                                            Conversion


                                                                                   Page Subtotals:                                                     $736,275.65              $736,275.65
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                                                                               COLUMN TOTALS                     $736,275.65   $736,275.65
                                                                                     Less: Bank Transfers/CD's         $0.00   $607,156.00    Exhibit 9
                                                                               Subtotal                          $736,275.65   $129,119.65
                                                                                     Less: Payments to Debtors         $0.00         $0.00
                                                                               Net                               $736,275.65   $129,119.65




                                                             Page Subtotals:                                           $0.00         $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                              Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                    Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                            Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX2276
                                                                                                                                           LOG Explor #6750
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   02/09/15            12         Wells Fargo LOG Exploration Acct #6750    Balance of Wells Fargo Acct                            1290-000             $13,761.96                                $13,761.96
                                                                            XX 6750
                                                                            To close out account at Wells
                                                                            Fargo
   10/22/18                       Transfer to Acct # xxxxxx2254             Transfer of Funds                                      9999-000                                  $13,761.96                 $0.00



                                                                                                             COLUMN TOTALS                              $13,761.96           $13,761.96
                                                                                                                   Less: Bank Transfers/CD's                  $0.00          $13,761.96
                                                                                                             Subtotal                                   $13,761.96                 $0.00
                                                                                                                   Less: Payments to Debtors                  $0.00                $0.00
                                                                                                             Net                                        $13,761.96                 $0.00




                                                                                   Page Subtotals:                                                      $13,761.96           $13,761.96
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                             Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                           Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2287
                                                                                                                                           LOG Exploration#1174
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   02/09/15            13         Wells Fargo LOG Exploration acct #1174    Balance of Wells Fargo Acct                           1290-000               $67,839.80                                $67,839.80
                                                                            XX 1174
                                                                            Balance to close out Wells
                                                                            Fargo Acct.
   10/22/18                       Transfer to Acct # xxxxxx2254             Transfer of Funds                                     9999-000                                    $67,839.80                 $0.00



                                                                                                            COLUMN TOTALS                                $67,839.80           $67,839.80
                                                                                                                  Less: Bank Transfers/CD's                    $0.00          $67,839.80
                                                                                                            Subtotal                                     $67,839.80                 $0.00
                                                                                                                  Less: Payments to Debtors                    $0.00                $0.00
                                                                                                            Net                                          $67,839.80                 $0.00




                                                                                   Page Subtotals:                                                       $67,839.80           $67,839.80
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   05/26/15                       Magnum Producing, LP                      Montecristo Energy II, Ltd oil &                                                   $9,652.61                                 $9,652.61
                                  500 N. Shoreline, Suite 322               Gas production
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                             $18,020.20

                                  Magnum Producing, LP                      LOE                                        ($8,367.59)    2500-000

                       20                                                   Montecristo Energy from                    $18,020.20     1223-000
                                                                            Magnum
   05/26/15                       Magnum Production, LP                     Blue Fire Energy , LC oil & gas                                                    $4,118.11                               $13,770.72
                                  500 N. Shoreline Blvd. #322               production
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                              $7,053.92

                                  Magnum Producing, LP                      LOE                                        ($2,935.81)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $7,053.92     1223-000

   07/16/15                       Kebo Oil & Gas, Inc.                       Oil & Gas Settlment statment                                                     $63,047.01                               $76,817.73
                                  607 Railroad Drive                        for montecristo Alexa 1, 2, 3,
                                  Portland, Tx 78374                        March1, MendB1
                                                                            Gross Receipts                             $77,082.87

                                  Kebo Oil & Gas                            LOE                                       ($14,035.86)    2500-000

                       20                                                   Montecristo Energy from                    $77,082.87     1223-000
                                                                            Magnum
   07/16/15                       Kebo Oil & Gas, Inc.                      Oil & Gas settlement Statement                                                    $25,695.29                              $102,513.02
                                  607 Railroad Drive                        on bluefire AlexA1, 2, 3 and
                                  Portland, Tx 78374                        MendB1
                                                                            Gross Receipts                             $30,044.55

                                  Kebo Oil & Gas                            LOE                                        ($4,349.26)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $30,044.55     1223-000




                                                                                   Page Subtotals:                                                        $102,513.02                   $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                 Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                             Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
   07/16/15                       Kebo Oil & Gas, Inc.                      Oil and gas Settlment                                                            $52,865.38                               $155,378.40
                                  607 Railroad Drive                        Statement for ELMB1, 2, 3
                                  Portland, Tx 78374
                                                                            Gross Receipts                            $55,117.68

                                  Kebo Oil & Gas                            LOE                                       ($2,252.30)    2500-000

                       22                                                   Kebo Oil & Gas                            $55,117.68     1223-000

   08/07/15                       Kebo Oil & Gas, Inc.                      Unknown suspense from LOG                                                         $1,877.74                               $157,256.14
                                  607 Railroad Ave.
                                  Portland, Tx 78411
                                                                            Gross Receipts                             $1,959.86

                                  Kebo Oil & Gas                            LOE                                          ($82.12)    2500-000

                       23                                                   Unknown suspense from Kebo                 $1,959.86     1223-000

   08/24/15                       Magnum Producing, LP                      Bluefire Energy, LC production                                                       $806.72                              $158,062.86
                                  500 North Shoreline, Suite 322
                                  Corpus Christi, jTx 78401-0313
                                                                            Gross Receipts                            $18,124.03

                                  Magnum Producing, LP                      LOE                                      ($17,317.31)    2500-000

                       21                                                   Blue Fire Engery from Magnum              $18,124.03     1223-000

   08/24/15                       Magnum Producing, LP                      Monecristo Energy II, LTD                                                         $7,524.26                               $165,587.12
                                  500 N. Shoreline, Suite 322               production
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                            $18,336.44

                                  Magnum Producing, LP                      LOE                                      ($10,812.18)    2500-000

                       20                                                   Montecristo Energy from                   $18,336.44     1223-000
                                                                            Magnum




                                                                                   Page Subtotals:                                                           $63,074.10                 $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   08/24/15                       Magnum Producing, LP                      Blue Fire Energy LC production                                                     $3,251.74                              $168,838.86
                                  500 N. Shoreline, Suite 322
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                              $7,301.61

                                  Magnum Producing, LP                      LOE                                        ($4,049.87)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $7,301.61     1223-000

   08/24/15                       Magnum Production, LP                     Montecristo Energy II, Ltd                                                         $5,582.22                              $174,421.08
                                  500 N. Shoreline Blvd. #322               production
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                             $20,480.84

                                  Magnum Producing, LP                      LOE                                       ($14,898.62)    2500-000

                       20                                                   Montecristo Energy from                    $20,480.84     1223-000
                                                                            Magnum
   08/24/15                       Magnum Production, LP                     Blue Fire Energy LC production                                                     $2,405.99                              $176,827.07
                                  500 N. Shoreline Blvd. #322
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                              $8,270.69

                                  Magnum Producing, LP                      LOE                                        ($5,864.70)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $8,270.69     1223-000

   08/24/15                       Magnum Production, LP                     Blue Fire Energy , LC oil & gas                                                    $4,047.41                              $180,874.48
                                  500 N. Shoreline Blvd. #322               production
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                              $7,811.20

                                  Magnum Producing, LP                      LOE                                        ($3,763.79)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $7,811.20     1223-000




                                                                                   Page Subtotals:                                                            $15,287.36                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   08/24/15                       Magnum Production, LP                     Montecristo Energy II, Ltd oil &                                                   $9,459.58                              $190,334.06
                                  500 N. Shoreline Blvd. #322               Gas production
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                             $19,537.40

                                  Magnum Producing, LP                      LOE                                       ($10,077.82)    2500-000

                       20                                                   Montecristo Energy from                    $19,537.40     1223-000
                                                                            Magnum
   09/03/15                       Kebo Oil & Gas, Inc.                      Oil & Gas for El Milagro wells                                                     $1,890.57                              $192,224.63
                                  607 Railroad Drive                        1,2,3,
                                  Portland, Tx 78374
                                                                            Gross Receipts                              $1,971.81

                                  Kebo Oil & Gas                            LOE                                           ($81.24)    2500-000

                       22                                                   Kebo Oil & Gas                              $1,971.81     1223-000

   09/25/15                       Magnum Producing, LP                      Montecristo Energy II, LTD                                                        $12,393.11                              $204,617.74
                                  500 North Shoreline, Suite 322
                                  Corpus Christi, jTx 78401-0313
                                                                            Gross Receipts                             $20,701.66

                                  Magnum Producing, LP                      LOE                                        ($8,308.55)    2500-000

                       20                                                   Montecristo Energy from                    $20,701.66     1223-000
                                                                            Magnum
   09/25/15                       Magnum Production, LP                     Blue Fire Energy, LC                                                               $5,419.11                              $210,036.85
                                  500 N. Shoreline Blvd. #322
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                              $8,325.54

                                  Magnum Producing, LP                      LOE                                        ($2,906.43)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $8,325.54     1223-000




                                                                                   Page Subtotals:                                                            $29,162.37                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                          ($)
   10/06/15                       Kebo Oil & Gas, Inc.                      Oil & Gas income Suspense                                                         $1,587.48                              $211,624.33
                                  607 Railroad Drive                        #1,2,3, El Milagro "B"
                                  Portland, Tx 78374
                                                                            Gross Receipts                              $1,658.67

                                  Kebo Oil & Gas                            LOE                                           ($71.19)    2500-000

                       22                                                   Kebo Oil & Gas                              $1,658.67     1223-000

   10/26/15                       Magnum Producing, LP                      Blue Fire Energy production                                                       $1,572.10                              $213,196.43
                                  500 N. Shoreline, Suite 322
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                              $8,399.58

                                  Magnum Producing, LP                      LOE                                        ($6,827.48)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $8,399.58     1223-000

   10/27/15                       Magnum Production, LP                     Montecristo Energy II, Ltd                                                        $3,404.91                              $216,601.34
                                  500 N. Shoreline Blvd. #322               production
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                             $20,650.52

                                  Magnum Producing, LP                      LOE                                       ($17,245.61)    2500-000

                       20                                                   Montecristo Energy from                    $20,650.52     1223-000
                                                                            Magnum
   11/09/15                       In Kebo Oil & Gasc.                       El Milagro Wells                                                                  $1,665.09                              $218,266.43
                                  607 Railroad Drive
                                  Portland, Tx 78374
                                                                            Gross Receipts                              $8,660.04

                                  Kebo Oil & Gas                            LOE                                           ($76.76)    2500-000

                                  Kebo Oil & Gas                            LOE                                        ($6,918.19)    2500-000

                       22                                                   Kebo Oil & Gas                              $6,918.19     1223-000


                                                                                   Page Subtotals:                                                            $8,229.58                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                            ($)
                       23                                                   Unknown suspense from Kebo                  $1,741.85     1223-000

   11/30/15                       Magnum Production, LP                     Oil & Gas Production Blue Fire                                                    $3,153.04                                $221,419.47
                                  500 N. Shoreline Blvd. #322               Energy, LC
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                              $7,196.78

                                  Magnum Producing, LP                      LOE                                        ($4,043.74)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $7,196.78     1223-000

   11/30/15                       Magnum Production, LP                     production for Montecristo                                                        $6,419.36                                $227,838.83
                                  500 N. Shoreline Blvd. #322               Energy !!, ltd.
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                             $18,005.13

                                  Magnum Producing, LP                      LOE                                       ($11,585.77)    2500-000

                       20                                                   Montecristo Energy from                    $18,005.13     1223-000
                                                                            Magnum
   12/07/15                        Kebo Oil & Gas, Inc.                     El Milagro "B" well                                                               $1,436.53                                $229,275.36

                                                                            Gross Receipts                              $7,402.80

                                  Kebo Oil & Gas                            LOE                                          ($67.13)     2500-000

                                  Kebo OIl & Gas                            LOE                                        ($5,899.14)    2500-000

                       22                                                   Kebo Oil & Gas                              $7,402.80     1223-000

   12/23/15                       Magnum Production, LP                     Oil & Gas income Blue Fire                                                            $405.84                              $229,681.20
                                  500 N. Shoreline Blvd. #322
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                              $6,714.29

                                  Magnum Producing, LP                      LOE                                        ($6,308.45)    2500-000




                                                                                   Page Subtotals:                                                            $11,414.77                 $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                            ($)
                       21                                                   Blue Fire Engery from Magnum                $6,714.29     1223-000

   01/06/16                       In Kebo Oil & Gasc.                       Royalties El Milagro wells                                                        $1,458.09                                $231,139.29
                                  607 Railroad Drive
                                  Portland, Tx 78374
                                                                            Gross Receipts                              $1,526.39

                                  Kebo    oil & Gas                         LOE                                           ($68.30)    2500-000

                       22                                                   Kebo Oil & Gas                              $1,526.39     1223-000

   02/03/16                       Magnum Production, LP                     Montecristo Energy !!, Ltd.                                                       $3,640.33                                $234,779.62
                                  500 N. Shoreline Blvd. #322               production to suspense
                                  Corpus Christi, Tx 78401-0309             12/21/15 &1/20/16
                                                                            production & LOE's
                                                                            Gross Receipts                             $28,682.65

                                  Magnum Producing, LP                      LOE                                        ($9,375.60)    2500-000

                                  Magnum Producing, LP                      LOE for 12/21/15                          ($15,666.72)    2500-000

                       20                                                   Montecristo Energy from                    $28,682.65     1223-000
                                                                            Magnum
   02/03/16                       Magnum Production, LP                     Blue Fire Energyh, LC                                                             $2,530.40                                $237,310.02
                                  500 N. Shoreline Blvd. #322               production to suspense
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                              $5,201.17

                                  Magnum Producing, LP                      LOE                                        ($2,670.77)    2420-000

                       21                                                   Blue Fire Engery from Magnum                $5,201.17     1223-000

   02/03/16                       In Kebo Oil & Gasc.                       El Milagro "B" well production                                                        $810.86                              $238,120.88
                                  607 Railroad Drive
                                  Portland, Tx 78374
                                                                            Gross Receipts                              $6,920.11




                                                                                   Page Subtotals:                                                            $8,439.68                  $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                   Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                               Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction                 Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                            ($)
                                   kebo Oil & Gas                           LOE for UKSUS                                ($38.10)     2500-000

                                  Kebo Oil & Gas                            LOE                                        ($6,071.15)    2500-000

                       22                                                   Kebo Oil & Gas                              $6,071.15     1223-000

                       23                                                   Unknown suspense from Kebo                    $848.96     1123-000

   02/26/16                       Magnum Producing, LP                      Blue Fire Energy LC production                                                    $2,549.35                                $240,670.23
                                  500 N. Shoreline, Suite 322
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                              $5,323.67

                                  Magnum Producing, LP                      LOE                                        ($2,774.32)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $5,323.67     1223-000

   02/26/16                       Magnum Production, LP                     Montecristo Energy II, Ltd oil &                                                  $5,444.44                                $246,114.67
                                  500 N. Shoreline Blvd. #322               Gas production
                                  Corpus Christi, Tx 78401-0309             12/31/15, 1/31/16, 2/23/16
                                                                            Production & LOEs
                                                                            Gross Receipts                             $29,575.98

                                  Magnum Producing, LP                      LOE 2/23/16                                ($7,707.86)    2500-000

                                  Magnum Producing , LP                     LOE- 1/31/16                               ($7,378.08)    7100-000

                                  Magnum Producing , LP                     LOE 12/31/15                               ($9,045.60)    2500-000

                       20                                                   Montecristo Energy from                    $29,575.98     1223-000
                                                                            Magnum
   03/03/16                       Kebo Oil & Gas, Inc.                      El Milagro B well production for                                                      $787.32                              $246,901.99
                                  607 Railroad Drive                        unknow FBO
                                  Portland, Tx 78374
                                                                            Gross Receipts                              $3,840.73

                                  KEBO Oil & Gas                            LOE                                        ($3,053.41)    2500-000


                                                                                   Page Subtotals:                                                            $8,781.11                  $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
                       22                                                   Kebo Oil & Gas                             $3,016.73     1223-000

                       23                                                   Unknown suspense from Kebo                   $824.00     1123-000

   03/28/16                       Magnum Producing                          Oil & Gas Production                                                             $7,981.75                                $254,883.74
                                  C/O Montecristo Energy!! Ltd
                                  500 N. Shoreline, Suite 322
                                  Corpus Christi, Tx 78401
                                                                            Gross Receipts                            $14,460.88

                                  Magnum Producing , LP                     LOE                                       ($6,479.13)    2500-000

                       20                                                   Montecristo Energy from                   $14,460.88     1223-000
                                                                            Magnum
   03/28/16                       Magnum Producing, LP                      Oil & Gas income                                                                 $3,596.22                                $258,479.96
                                  C/O Blue Fire Energy
                                  50 N. Shoreline, Suite 322
                                  Corpus Christi, Tx 78401
                                                                            Gross Receipts                             $5,839.01

                                  Magnum Producing , LP                     LOE                                       ($2,242.79)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $5,839.01     1223-000

   04/05/16                       Kebo Oil & Gas, Inc.                      Oil & Gas income                                                                     $780.38                              $259,260.34
                                  607 Railroad Drive
                                  Portland, Tx 78374
                                                                            Gross Receipts                               $816.27

                                  Kebo Oil & Gas                            LOE                                         ($35.89)     2500-000

                       23                                                   Unknown suspense from Kebo                   $816.27     1123-000

   04/25/16                       Magnum Production, LP                     Montecristo Energy II LTD oil &                                                      $873.76                              $260,134.10
                                  500 N. Shoreline Blvd. #322               Gas production
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                            $11,378.75



                                                                                   Page Subtotals:                                                           $13,232.11                 $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                            ($)
                                  Magnum Producing , LP                     LOE                                       ($10,504.99)    2500-000

                       20                                                   Montecristo Energy from                    $11,378.75     1223-000
                                                                            Magnum
   04/26/16                       Magnum Production, LP                     Blue Fire Energy , LC oil & gas                                                       $641.12                              $260,775.22
                                  500 N. Shoreline Blvd. #322               production
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                              $4,616.60

                                  Magnum Producing , LP                     LOE                                        ($3,975.48)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $4,616.60     1223-000

   05/04/16                       Kebo Oil & Gas, Inc.                      Oil & Gas income                                                                      $845.41                              $261,620.63
                                  607 Railroad Drive
                                  Portland, Tx 78374
                                                                            Gross Receipts                                $885.30

                                  Kebo Oil & Gas                            LOE                                           ($39.89)    2500-000

                       23                                                   Unknown suspense from Kebo                    $885.30     1123-000

   05/30/16                       Magnum Producing, LP                      Montecristo Energy II LTD                                                         $3,735.47                                $265,356.10
                                  500 N. Shoreline, Suite 322               production from Alexander
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                             $10,348.58

                                  Magnum Producing , LP                     LOE                                        ($6,613.11)    2500-000

                       20                                                   Montecristo Energy from                    $10,348.58     1223-000
                                                                            Magnum
   05/30/16                       Magnum Production, LP                     Blue Fire Energy, LC                                                              $1,902.17                                $267,258.27
                                  500 N. Shoreline Blvd. #322               production from Alexander
                                  Corpus Christi, Tx 78401-0309             wells
                                                                            Gross Receipts                              $4,160.92

                                  Magnum Producing , LP                     LOE                                        ($2,258.75)    2500-000


                                                                                   Page Subtotals:                                                            $7,124.17                  $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
                       21                                                   Blue Fire Engery from Magnum               $4,160.92     1223-000

   06/28/16                       Magnum Producing, LP                      Blue Fire Energy LC production                                                   $1,872.17                                $269,130.44
                                  500 N. Shoreline, Suite 322
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                             $4,655.65

                                  Magnum Producing , LP                     LOE                                       ($2,783.48)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $4,655.65     1223-000

   06/28/16                       Magnum Producing, LP                      Monecristo Energy II, LTD                                                        $3,006.84                                $272,137.28
                                  500 N. Shoreline, Suite 322               production
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                            $11,605.22

                                  Magnum Producing , LP                     LOE                                       ($8,598.38)    2500-000

                       20                                                   Montecristo Energy from                   $11,605.22     1223-000
                                                                            Magnum
   07/25/16                       Magnum Producing, LP                      production of oil & gas                                                              $678.48                              $272,815.76
                                  C/O Blue Fire Energy, LC
                                                                            Gross Receipts                             $4,378.07

                                  Magnum Producing , LP                     LOE                                       ($3,699.59)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $4,378.07     1223-000

   07/25/16                       Magnum Producing, LP                      production oil & gas                                                             $1,011.17                                $273,826.93
                                  C/O Montecristo Energy II, Ltd
                                                                            Gross Receipts                            $10,921.94

                                  Magnum Producing , LP                     LOE                                       ($9,910.77)    2500-000

                       20                                                   Montecristo Energy from                   $10,921.94     1223-000
                                                                            Magnum
   08/29/16                       Magnum Producing, LP                      production of oil & gas                                                          $2,674.21                                $276,501.14
                                  C/O Blue Fire Energy LC

                                                                                   Page Subtotals:                                                           $9,242.87                  $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
                                                                            Gross Receipts                              $4,808.80

                                  Magnum Producing , LP                     LOE                                        ($2,134.59)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $4,808.80     1223-000

   08/29/16                       Magnum Producing LP                       production of oil & gas                                                            $6,136.62                              $282,637.76
                                  C/O Monticristo Energy II, ltd
                                                                            Gross Receipts                             $12,357.04

                                  Magnum Producing , LP                     LOE                                        ($6,220.42)    2500-000

                       20                                                   Montecristo Energy from                    $12,357.04     1223-000
                                                                            Magnum
   09/29/16                       Magnum Producing                          production oil & gas                                                               $2,599.89                              $285,237.65
                                  Montecristo Energy III                    Montecristo Energy
                                                                            Gross Receipts                             $15,825.35

                                  Magnum Producing , LP                     LOE                                       ($13,225.46)    2500-000

                       20                                                   Montecristo Energy from                    $15,825.35     1223-000
                                                                            Magnum
   09/29/16                       Magnum Producing                          production oil & gas Blue Fire                                                     $1,199.11                              $286,436.76
                                  Blue Fire Energy, LC                      Energy
                                                                            Gross Receipts                              $6,335.88

                                  Magnum Producing , LP                     LOE                                        ($5,136.77)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $6,335.88     1223-000

   09/29/16           1001        Kebo Oil & Gas, Inc.                      Acct # ELMIWI Stancil Property                            4110-000                                        $250.00         $286,186.76
                                  607 Railroad Ave.                         Tax 2016 Ad Valoreum
                                  Portland, Tx 78411
   11/01/16                       Magnum Producing -                        Oil & Gas for Monecristo                                                           $4,793.17                              $290,979.93
                                  Montecristo Energy II ltd                 Energy II ltd
                                                                            Gross Receipts                             $14,329.61



                                                                                   Page Subtotals:                                                            $14,728.79              $250.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


       1                2                                3                                           4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  Magnum Producing , LP                     LOE                                       ($9,536.44)    2500-000

                       20                                                   Montecristo Energy from                   $14,329.61     1223-000
                                                                            Magnum
   11/01/16                       Magnum Producing, LP                      Oil & Gas for Blue Fire Energy                                                    $2,467.96                              $293,447.89
                                  Blue Fire Energy LC                       LC
                                                                            Gross Receipts                             $5,657.26

                                  Magnum Producing , LP                     LOE                                       ($3,189.30)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $5,657.26     1223-000

   11/03/16           1002        Kebo Oil & Gas, Inc.                      Acct ELMIWI /El Milagro "B"                              2990-000                                        $720.30         $292,727.59
                                  607 Railroad Drive                        1,2,3 wells
                                  Portland, Tx 78374
   11/28/16                       Magnum Producting                         Oil & Gas Production                                                              $8,737.42                              $301,465.01
                                  C/O Montecristo Energy II LTD             Monecristo Energy II
                                  500 N. Shoreline, Suite 322
                                  Corpus Chisti, Texas 78401
                                                                            Gross Receipts                            $15,657.90

                                  Magnum Producing , LP                     LOE                                       ($6,920.48)    2500-000

                       20                                                   Montecristo Energy from                   $15,657.90     1223-000
                                                                            Magnum
   11/28/16                       Magnum Producing                          Oil & Gas Production Blue Fire                                                    $3,546.61                              $305,011.62
                                  C/O Blue Fire Energy                      Energy, LC
                                                                            Gross Receipts                             $6,160.14

                                  Magnum Producing , LP                     LOE                                       ($2,613.53)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $6,160.14     1223-000

   12/27/16                       Magnum Producing, LP                      Oil & Gas income                                                                  $3,909.61                              $308,921.23
                                  Blue Fire Energy, LC
                                  C/O Law Office Of michael B. Schmidt
                                                                            Gross Receipts                             $7,612.89


                                                                                   Page Subtotals:                                                           $18,661.60              $720.30
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
                                  Magnum Producing , LP                     LOE                                       ($3,703.28)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $7,612.89     1223-000

   12/27/16                       Magnum Producing, LP                      Oil & Gas income                                                                  $9,095.25                               $318,016.48
                                  Montecristo Energy II, Ltd
                                  C/O Law Offrice of Michael B. Schmidt
                                                                            Gross Receipts                            $19,077.90

                                  Magnum Producing , LP                     LOE                                       ($9,982.65)    2500-000

                       20                                                   Montecristo Energy from                   $19,077.90     1223-000
                                                                            Magnum
   01/06/17           1003        Kebo Oil & Gas, Inc.                      Consulting on P & A for Penn                             3991-000                                         $225.00         $317,791.48
                                  607 Railroad Drive                        well
                                  Portland, Tx 78374
   01/31/17                       Magnum Producing, LP/ Montecristo         Oil & Gas montecristo Energy                                                      $6,100.49                               $323,891.97
                                  Energy II, LTd
                                  500 N. Shoreline, Suite 322
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                            $15,344.75

                                  Magnum Producing , LP                     LOE                                       ($9,244.26)    2500-000

                       20                                                   Montecristo Energy from                   $15,344.75     1223-000
                                                                            Magnum
   01/31/17                       Magnum Production, LP/ Blue Fire          Oil & Gas for Blue Fire Energy                                                    $2,753.47                               $326,645.44
                                  Energy, LC                                LC
                                  500 N. Shoreline Blvd. #322
                                  Corpus Christi, Tx 78401-0309
                                                                            Gross Receipts                             $6,202.27

                                  Magnum Producing , LP                     LOE                                       ($3,448.80)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $6,202.27     1223-000

   02/27/17                       Magnum Producing LP                       production of Blue Fire Energy                                                       $886.07                              $327,531.51
                                  C/O Blue Fire ENergy LC

                                                                                   Page Subtotals:                                                           $18,835.28               $225.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                              Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                            Bank Name: First National Bank - Vinita
                                                                                                                 Account Number/CD#: XXXXXX2375
                                                                                                                                           Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                             Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
                                                                            Gross Receipts                            $5,916.98

                                  Magnum Producing , LP                     LOE                                      ($5,030.91)    2500-000

                       21                                                   Blue Fire Engery from Magnum              $5,916.98     1223-000

   03/27/17                       Magnum Producing, LP / Blue Fire Energy Oil & Gas income Blue Fire                                                         $5,007.18                              $332,538.69
                                  500 N. Shoreline, Ste 322               Energy LC
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                            $7,266.57

                                  Magnum Producing , LP                     LOE                                      ($2,259.39)    2500-000

                       21                                                   Blue Fire Engery from Magnum              $7,266.57     1223-000

   03/27/17                       Magnum Producing, LP/ Montecristo         Oil & Gas income / Montecristo                                                  $11,779.48                              $344,318.17
                                  Enrgy II, ltd                             Enrgy
                                  500 N. ShoreLine, Ste 322
                                  Corpus Christi, Tx 78401-0313
                                                                            Gross Receipts                           $18,268.27

                                  Magnum Producing , LP                     LOE                                      ($6,488.79)    2500-000

                       20                                                   Montecristo Energy from                  $18,268.27     1223-000
                                                                            Magnum
   04/24/17                       Magnum Producing, LP C/O Blue Fire        Oil & Gas income                                                                 $3,029.63                              $347,347.80
                                  Energy, LC

                                                                            Gross Receipts                            $5,504.34

                                  Magnum Producing , LP                     LOE                                      ($2,474.71)    2500-000

                       21                                                   Blue Fire Engery from Magnum              $5,504.34     1223-000

   04/24/17                       Magnum Producing, LP                      Oil & Gas income                                                                 $6,826.81                              $354,174.61

                                                                            Gross Receipts                           $13,802.07



                                                                                   Page Subtotals:                                                          $26,643.10                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                        Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                               Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
                                  Magnum Producing , LP                     LOE                                       ($6,975.26)    2500-000

                       20                                                   Montecristo Energy from                   $13,802.07     1223-000
                                                                            Magnum
   05/22/17                       Magnum Producing Blue Fire Energy         Oil & Gas income                                                                 $2,495.20                                $356,669.81

                                                                            Gross Receipts                             $5,193.08

                                  Magnum Producing , LP                     LOE                                       ($2,697.88)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $5,193.08     1223-000

   05/22/17           1004        Bulldog Well Service                      plugging cost per order #272                             2990-000                                     $41,000.00          $315,669.81
                                  PO Box 781394
                                  San Antonio, Tx 78278-1394
   06/01/17           1005        Bulldog Well Service                      Inv. #7952 Plug & Abandon                                2990-000                                     $28,976.00          $286,693.81
                                  PO Box 781394                             Well per order #272
                                  San Antonio, Tx 78278-1394                L & P Lease Well #5, Jim Hogg
                                                                            County
   06/05/17           1006        Bulldog Well Service                      Inv. #7976Plug & Abandon Well                            2990-000                                     $29,908.00          $256,785.81
                                  PO Box 781394                             per order #272
                                  San Antonio, Tx 78278-1394                LP lease well #3 Zapata County
   06/07/17           1007        Kebo Oil & Gas, Inc.                      GaU letters for plugging per                             2990-000                                         $600.00         $256,185.81
                                  607 Railroad Drive                        order #272
                                  Portland, Tx 78374                        L & P No 3 & 5, El Milagro No
                                                                            B-1, B-5, C=1, 51 Penn
   06/07/17           1008        Kebo Oil & Gas, Inc.                      penn well plugging expenses                              2990-000                                      $5,495.10          $250,690.71
                                  607 Railroad Drive                        pd per order #272
                                  Portland, Tx 78374
   06/16/17            18         Jorge Catalani                            Well salvage, sale of LMP#5                              1229-000                $3,980.00                                $254,670.71
                                  IBC bank                                  pipe
   06/16/17            19         Texas SAbal, Inc.                         well salvage 2 (210661) tanks                            1229-000                $1,200.00                                $255,870.71
                                  PO Box 90778
                                  San Antonio, Tx 78209
   06/16/17            18         JOrge Cataalani                           well salvage #3 pipe                                     1229-000                    $830.00                              $256,700.71
                                  BBVA Compass bank cashier's check



                                                                                   Page Subtotals:                                                           $8,505.20           $105,979.10
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                 Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                             Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)        Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
   07/13/17                       Magnum Producing, LP Blue Fire Energy Oil & Gas income                                                                      $3,878.09                             $260,578.80
                                  LC

                                                                            Gross Receipts                             $5,996.54

                                  Magnum Producing , LP                     LOE                                       ($2,118.45)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $5,996.54     1223-000

   07/13/17                       Magnum Producing, Montecristo Energy      Oil & Gas income                                                                  $9,223.18                             $269,801.98
                                  II,ltd

                                                                            Gross Receipts                            $15,402.13

                                  Magnum Producing , LP                     LOE                                       ($6,178.95)    2500-000

                       20                                                   Montecristo Energy from                   $15,402.13     1223-000
                                                                            Magnum
   07/14/17           1009        Kebo Oil & Gas, Inc.                      Balance due Reference #1367                              2990-000                                     $3,686.49         $266,115.49
                                  607 Railroad Drive                        plugging wells
                                  Portland, Tx 78374
   07/21/17                       Magnum - Blue Fire Energy                 Oil & Gas                                                                         $2,613.86                             $268,729.35

                                                                            Gross Receipts                             $6,584.39

                                  Magnum Producing , LP                     LOE                                       ($3,970.53)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $6,584.39     1223-000

   07/21/17                       Magnum - Montecristo Energy, II ltd       Oil & Gas income                                                                  $6,308.71                             $275,038.06

                                                                            Gross Receipts                            $16,810.84

                                  Magnum Producing , LP                     LOE                                      ($10,502.13)    2500-000

                       20                                                   Montecristo Energy from                   $16,810.84     1223-000
                                                                            Magnum


                                                                                   Page Subtotals:                                                           $22,023.84           $3,686.49
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)        Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
   08/16/17           1010        Bulldog Well Service                      plugging cost per order #272                             2990-000                                    $63,411.00         $211,627.06
                                  PO Box 781394                             Inv. #8027 El Milagro B Deep
                                  San Antonio, Tx 78278-1394                Well #B5 $16096.00
                                                                            Inv. #8025 El Milagro Bajo B
                                                                            Well #B2 $20850.00
                                                                            Inv. #8026 El Milagro C, Well
                                                                            #C1       $26465.00


   09/07/17                       Magnum Producing, LP Blue Fire Energy production oil & gas                                                                  $3,764.41                             $215,391.47

                                                                            Gross Receipts                             $6,194.91

                                  Magnum Producing , LP                     LOE                                       ($2,430.50)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $6,194.91     1223-000

   09/07/17                       Magnum Producing, LP Montecristo          production of Montecristo                                                         $8,709.04                             $224,100.51
                                  Energy II, Ltd                            Energy

                                                                            Gross Receipts                            $15,604.29

                                  Magnum Producing , LP                        LOE                                    ($6,895.25)    2500-000

                       20                                                   Montecristo Energy from                   $15,604.29     1223-000
                                                                            Magnum
   09/21/17                       Magnum Producing LP- Blue Fire Energy     Oil & gas income                                                                  $3,615.30                             $227,715.81

                                                                            Gross Receipts                             $5,637.89

                                  Magnum Producing , LP                     LOE                                       ($2,022.59)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $5,637.89     1223-000

   09/21/17                       Magnum Producing, LP - Montecristo        Oil & Gas montecristo Energy                                                      $8,311.54                             $236,027.35
                                  Energy II

                                                                            Gross Receipts                            $14,252.77


                                                                                   Page Subtotals:                                                           $24,400.29          $63,411.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                     Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                            Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
                                  Magnum Producing , LP                     LOE                                       ($5,941.23)    2500-000

                       20                                                   Montecristo Energy from                   $14,252.77     1223-000
                                                                            Magnum
   10/18/17           1011        Kebo Oil and Gas, Inc.                    Inv. dated 10/1/17 SCHMIC                                2990-000                                   $25,872.00         $210,155.35
                                  701 Wildcat Drive                         El Milagro B2, El Milagro B5, El
                                  Portland, Texas 78374                     Milagro C1, L & P wells 3 & 5
                                                                            Penn well
   10/24/17                       Magnum Producing - Montecristo Energy     Oil & Gas income                                                                 $3,652.81                             $213,808.16
                                  II ltd.

                                                                            Gross Receipts                            $25,577.94

                                  Magnum Producing , LP                     LOE                                       ($6,402.86)    2500-000

                                  Magnum Producing LP                       LOE- 11/20/17                             ($7,966.22)    2500-000

                                  Magnum Producing LP                       LOE-12/20/17                              ($7,556.05)    2500-000

                       20                                                   Montecristo Energy from                   $25,577.94     1223-000
                                                                            Magnum
   10/24/17                       Magnum Producing LP - Blue Fire           Oil & Gas income                                                                 $1,662.39                             $215,470.55
                                  Energy, LC

                                                                            Gross Receipts                             $9,608.44

                                  Magnum                                    LOE                                       ($2,222.54)    2500-000

                                  Magnum Producing LP                       LOE - 11/20/17                            ($2,896.08)    2500-000

                                  Magnum Producing LP                       LOE-12/20/17                              ($2,827.43)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $9,608.44     1223-000

   11/14/17           1012        Kebo Oil & Gas, Inc.                      Operating expenses for El                                2990-000                                   $15,140.85         $200,329.70
                                  701 Wildcat Drive                         Milagro B2 B6, C1
                                  Portland, Tx 78374


                                                                                   Page Subtotals:                                                           $5,315.20          $41,012.85
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                                Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                              Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                             Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                              Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)        Disbursements ($)   Account/CD Balance
                    Reference                                                                                                            Code                                                          ($)
   12/04/17           1013        Kebo Oil & Gas, Inc.                      El Milagro B5 Operating costs                             2990-000                                     $2,180.00         $198,149.70
                                  701 Wildcat Drive
                                  Portland, Tx 78374
   03/22/18                       Magnum Producing, LP Montecristo          Oil & Gas income Montecristo                                                      $13,912.66                             $212,062.36
                                  Energy II Ltd                             Energy II ltd

                                                                            Gross Receipts                             $49,123.65

                                  Magnum Producing , LP                     LOE                                       ($35,210.99)    2500-000

                       20                                                   Montecristo Energy from                    $49,123.65     1223-000
                                                                            Magnum
   03/22/18                       Magnum Producing, LP - Blue Fire          Oil & Gas income Blue Fire                                                         $6,940.49                             $219,002.85
                                  Energy, LC                                Energy LC

                                                                            Gross Receipts                             $19,350.18

                                  Magnum Producing , LP                     LOE                                       ($12,409.69)    2500-000

                       21                                                   Blue Fire Engery from Magnum               $19,350.18     1223-000

   04/23/18                       Magnum Producing, LP - Blue Fire          Oil & Gas income Blue Fire                                                         $4,271.20                             $223,274.05
                                  Energy, LC                                Energy, LC
                                  500 N. Shoreline, Ste 322
                                  Coropus Christi, Tx 78401
                                                                            Gross Receipts                              $7,017.87

                                  Magnum Producing , LP                     LOE                                        ($2,746.67)    2500-000

                       21                                                   Blue Fire Engery from Magnum                $7,017.87     1223-000

   04/23/18                       Magnum Producing, LP Montecristo          Oil & Gas income Montecristo                                                       $9,541.54                             $232,815.59
                                  Energy II, Ltd.                           Energy II, LTd
                                  500 N. Shoreline, Ste 322
                                  Corpus Christi, Tx 78401
                                                                            Gross Receipts                             $17,194.73




                                                                                   Page Subtotals:                                                            $34,665.89           $2,180.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                              Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                       Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                            Bank Name: First National Bank - Vinita
                                                                                                                 Account Number/CD#: XXXXXX2375
                                                                                                                                           Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                             Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
                                  Magnum Producing , LP                     LOE                                      ($7,653.19)    2500-000

                       20                                                   Montecristo Energy from                  $17,194.73     1223-000
                                                                            Magnum
   05/23/18                       Magnum Producing, LP - Montecristo        Oil & Gas montecristo Energy                                                     $4,668.12                              $237,483.71
                                  Energy II. ltd
                                  500 N. Shoreline, Suite 322
                                  Corpus Christi, Tx 7841-0313
                                                                            Gross Receipts                           $11,971.17

                                  Magnum Producing, LP                      LOE                                      ($7,303.05)    2500-000

                       20                                                   Montecristo Energy from                  $11,971.17     1123-000
                                                                            Magnum
   05/23/18                       Magnum Producing, LP - Blue Fire          Oil & Gas Blue Fire Energy                                                       $2,198.66                              $239,682.37
                                  Energy, Lc
                                  500 N. Shoreline, Suite 322
                                  corpus Chisti, Tx 78401-0313
                                                                            Gross Receipts                            $4,725.03

                                  Magnum Producing, LP                      LOE                                      ($2,526.37)    2500-000

                       21                                                   Blue Fire Engery from Magnum              $4,725.03     1123-000

   06/25/18            20         Magnum Producing, LP - Montecristo        Oil & Gas income Montecristo                            1223-000                 $4,088.34                              $243,770.71
                                  Energy II, LTD                            Energy II, LTd

   06/25/18            21         Magnum Producing, LP - Blue Fire          Oil & Gas income Blue Fire                              1223-000                 $1,816.66                              $245,587.37
                                  Energy LC                                 Energy, LC

   07/25/18            20         Magnum - Montecristo Energy II ltd        Oil & Gas income                                        1123-000                 $8,618.37                              $254,205.74

   07/25/18            21         Magnum Producing LP- Blue Fire Energy     Oil & Gas income Blue Fire                              1123-000                 $3,808.82                              $258,014.56
                                  LC                                        Energy, LC




                                                                                   Page Subtotals:                                                          $25,198.97                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                             Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                           Bank Name: First National Bank - Vinita
                                                                                                                  Account Number/CD#: XXXXXX2375
                                                                                                                                          Suspense acct.
  Taxpayer ID No: XX-XXX3892                                                                             Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                            Separate Bond (if applicable):


       1                2                              3                                             4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                            ($)
   08/17/18           1014        Montecristo Energy II, Ltd.               payment persuant to order                             4210-000                                   $122,896.07          $135,118.49
                                  C/O Chendo Carranco                       Document #346
                                  Carranco & Lawson P.C.
                                  6553 Star Court
                                  Laredo, Tx. 78041
   08/17/18           1015        Montecristo Energy II, Ltd.               payment pursuant to Document                          4210-000                                     $8,618.37          $126,500.12
                                  C/O Chendo Carranco                       order #346
                                  Carranco & Lawson P.C.
                                  6553 Star Court
                                  Laredo, Tx. 78041
   10/22/18                       Transfer to Acct # xxxxxx2254             Transfer of Funds                                     9999-000                                   $126,500.12                 $0.00



                                                                                                            COLUMN TOTALS                              $475,479.30           $475,479.30
                                                                                                                  Less: Bank Transfers/CD's                    $0.00         $126,500.12
                                                                                                            Subtotal                                   $475,479.30           $348,979.18
                                                                                                                  Less: Payments to Debtors                    $0.00                $0.00
                                                                                                            Net                                        $475,479.30           $348,979.18




                                                                                   Page Subtotals:                                                             $0.00         $258,014.56
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-50114                                                                                               Trustee Name: MICHAEL B. SCHMIDT, Chapter 7 Trustee                      Exhibit 9
      Case Name: L.O.G. Energy Exploration, LTD.                                                                             Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0064
                                                                                                                                            Chapter 7 Main
  Taxpayer ID No: XX-XXX3892                                                                               Blanket Bond (per case limit): $69,990,000.00
For Period Ending: 10/07/2019                                                                              Separate Bond (if applicable):


       1                2                             3                                              4                                                       5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   05/20/19                       Transfer from Acct # xxxxxx2254           Transfer of Funds                                       9999-000                 $1,435.81                                 $1,435.81

   05/28/19                       Halliburton Energy Services, Inc.         stop payment on Ck#149                                  7100-000                                   ($11,071.76)          $12,507.57
                                  Attn: Alan Ludwig, Sr. Paralegal
                                  Halliburton Law Department
                                  P.O. Box 42806Z
                                  Houston, TX 77042
   06/11/19           3001        Halliburton Energy Services, Inc.         Final distribution to claim 5                           7100-000                                   ($11,071.76)          $23,579.33
                                  Attn: Alan Ludwig, Sr. Paralegal          creditor account # representing
                                  Halliburton Law Department                a payment of 40.81 % per court
                                  P.O. Box 42806Z                           order. Reversal
                                  Houston, TX 77042                         New address to be sent to and
                                                                            new attn: Larry Woods
   06/11/19           3001        Halliburton Energy Services, Inc.         Final distribution to claim 5                           7100-000                                    $11,071.76           $12,507.57
                                  Attn: Alan Ludwig, Sr. Paralegal          creditor account # representing
                                  Halliburton Law Department                a payment of 40.81 % per court
                                  P.O. Box 42806Z                           order.
                                  Houston, TX 77042
   06/11/19           3002        Halliburton Energy Services, Inc.         Final distribution claim 5                              7100-000                                    $11,071.76             $1,435.81
                                  ATTN: Larry Woods, Sr. Manager            representing a payment of
                                  300 N. Sam Houston Parkway East           40.81% per court order.
                                  Bldg. J452                                replaces Ck #149 from Vinita
                                  Houston, Tx 77032                         bank. New address and New
                                                                            ATTN:
   08/29/19           3003        Registry of the Court                     Monies put into Registry per                            7100-000                                     $1,435.81                 $0.00
                                  1133 N. Shoreline                         order #385
                                  Corpus Christi, Tx 78401


                                                                                                              COLUMN TOTALS                                  $1,435.81           $1,435.81
                                                                                                                    Less: Bank Transfers/CD's                $1,435.81                $0.00
                                                                                                              Subtotal                                           $0.00           $1,435.81
                                                                                                                    Less: Payments to Debtors                    $0.00                $0.00
                                                                                                              Net                                                $0.00           $1,435.81




                                                                                   Page Subtotals:                                                           $1,435.81           $1,435.81
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                                                                                                                                                                  Exhibit 9
                                                                                            TOTAL OF ALL ACCOUNTS
                                                                                                                                              NET            ACCOUNT
                                                                                                          NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                               XXXXXX0064 - Chapter 7 Main                                           $0.00               $1,435.81                $0.00
                                               XXXXXX1792 - Chapter 11 Checking                               $985,904.75               $30,583.10                $0.00
                                               XXXXXX2254 - Chapter 7 Main                                    $202,328.30          $1,971,472.02                  $0.00
                                               XXXXXX2265 - LOG Production                                    $736,275.65            $129,119.65                  $0.00
                                               XXXXXX2276 - LOG Explor #6750                                   $13,761.96                   $0.00                 $0.00
                                               XXXXXX2287 - LOG Exploration#1174                               $67,839.80                   $0.00                 $0.00
                                               XXXXXX2375 - Suspense acct.                                    $475,479.30            $348,979.18                  $0.00
                                                                                                            $2,481,589.76          $2,481,589.76                  $0.00

                                                                                                         (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                 transfers)            to debtors)
                                               Total Allocation Receipts:                  $677,411.11
                                               Total Net Deposits:                       $2,481,589.76
                                               Total Gross Receipts:                     $3,159,000.87




                                                                       Page Subtotals:                                          $0.00                $0.00
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